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                       IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

  AL RAGO, derivatively on behalf of TINGO
  GROUP, INC.
                                                     Case No.: _______
         Plaintiff,

         vs.

  DARREN MERCER, HAO CHEN, DOZY                      DEMAND FOR JURY TRIAL
  MMOBUOSI, ROBERT BENTON, JOHN J.
  BROWN, KENNETH DENOS, JOHN
  MCMILLAN SCOTT, and SIR DAVID
  TRIPPIER,

         Defendants,

         and

  TINGO GROUP, INC., f/k/a MICT, INC.,

         Nominal Defendant.


                VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

                                      INTRODUCTION

       Plaintiff Al Rago (“Plaintiff”), by Plaintiff’s undersigned attorneys, derivatively and on

behalf of Nominal Defendant Tingo Group, Inc., f/k/a/ MICT, Inc. (“Tingo” or the “Company”),

files this Verified Shareholder Derivative Complaint against Darren Mercer (“Mercer”), Hao

“Kevin” Chen (“Chen”), Dozy Mmobuosi (“Mmobuosi”), Robert Benton (“Benton”), John J.

Brown (“Brown”), Kenneth Denos (“Denos”), John McMillan Scott (“Scott”), and Sir David

Trippier (“Trippier”) (collectively, the “Individual Defendants,” and together with Tingo, the

“Defendants”) for breaches of their fiduciary duties as directors and/or officers of Tingo, unjust

enrichment, abuse of control, gross mismanagement, waste of corporate assets, and violations of

Section 14(a) of the Securities Exchange Act of 1934 (the “Exchange Act”). As for Plaintiff’s



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complaint against the Individual Defendants, Plaintiff alleges the following based upon personal

knowledge as to Plaintiff and Plaintiff’s own acts, and information and belief as to all other matters,

based upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys, which

included, among other things, a review of the Defendants’ public documents, conference calls and

announcements made by the Defendants, United States Securities and Exchange Commission

(“SEC”) filings, wire and press releases published by and regarding Tingo, legal filings, news

reports, securities analysts’ reports and advisories about the Company, and information readily

obtainable on the Internet. Plaintiff believes that substantial evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for discovery.

                                   NATURE OF THE ACTION

       1.      This is a shareholder derivative action that seeks to remedy wrongdoing committed

by Tingo’s directors and officers from December 1, 2022 through June 6, 2023, inclusive (the

“Relevant Period”).

       2.      Tingo is a holding company incorporated in Delaware with principal executive

offices in New Jersey that owns subsidiaries and entities that operate in financial technology

(“fintech”) and agricultural financial technology (“agri-fintech”) industries. Prior to a merger in

December 2022 and a rebranding in February 2023, Tingo was known as MICT, Inc. In December

2022, the Company merged with Tingo, Inc. (“TMNA”). In the merger, the Company purchased

from TMNA the entire operations of Tingo Mobile Limited (“Tingo Mobile”) and, subsequently

in February 2023, Tingo Foods PLC (“Tingo Foods”).

       3.      By way of the Company’s structure, Tingo Mobile and Tingo Foods are held under

the Company’s subsidiary Tingo Group Holdings LLC (“TGH”), an agri-fintech company that

operates in Africa. Tingo Mobile is an agri-fintech company focused on providing rural farming




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communities with communication devices. Tingo Mobile’s mission focuses on offering Nigerian

farmers with an e-commerce marketplace, a point-of-sale app, and a credit card.

           4.   Meanwhile, Tingo Foods is an upcoming food processing project in the delta

region of Nigeria. Tingo Foods is said to be developing a $1.6 billion “Special Agriculture

Processing Zone” to provide sustainable food production in Nigeria.

           5.   Following the merger, several of the Individual Defendants solicited shareholders

to vote on various proposals in the Schedule 14(a) the Company filed with the SEC on December

8, 2022 (the “2022 Proxy Statement”), which contained materially false and misleading statements

and omissions. The 2022 Proxy Statement called for shareholders to, inter alia: (1) elect five

directors to serve on the Company’s Board of Directors (the “Board”) until the 2023 annual

meeting of stockholders or until their successors are elected and qualified; and (2) to approve an

amendment to the 2020 Equity Incentive Plan of MICT (the “Plan”) to increase the number of

shares of common stock authorized to be issued pursuant to the Plan from 20,000,000 to

25,000,000. As a result of the Individual Defendants’ false and misleading statements,

shareholders approved the proposal related to the Plan, thereby enabling the Individual Defendants

and others at the Company to materially benefit, unjustly, therefrom in the future. The matters

omitted from the 2022 Proxy Statement were significant to investors, who were aware of the

Company’s claims that the new merger and the Tingo subsidiaries would drastically improve the

Company’s financial standing. Had shareholders been aware of the true state at the Company, they

would not have voted to approve the proposal related to the Plan.

           6.   During the Relevant Period, the Company continued to represent to shareholders

the drastic boost that both Tingo Food and Tingo Mobile provided to the Company’s financial

profile.




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       7.      However, on June 6, 2023, Hindenburg Research (“Hindenburg”), a famous short

seller, published a report titled “Tingo Group: Fake Farmers, Phones, and Financials---The

Nigerian Empire That Isn’t” (the “Hindenburg Report”). Along with exposing the operational and

financial fraud of Tingo, the Hindenburg Report exposed Defendant Mmobuosi, the founder and

Chief Executive Officer (“CEO”) of Tingo Mobile and Tingo Foods, for reportedly fabricating

parts of his biography.

       8.      The Hindenburg Report revealed that Tingo made several false claims and

misrepresentations about its businesses and financial reports. One example provided by

Hindenburg was that “Tingo had photoshopped its logo onto pictures of airplanes” and that “Dozy

later admitted to never owning any actual aircraft.” Likewise, the Hindenburg Report pointed out

that while Tingo’s food division claimed to have a 24.8% operating margin, this claim “exceeds

[the operating margin] of every major comparable food company.” Moreover, a purported

rendering of Tingo’s planned $1.6 billion food processing facility in Lagos, Nigeria that was

featured in Tingo’s materials to investors and on a billboard, was a rendering of an oil refinery

taken from a stock photo website. Tingo had made representations of “significant progress” on the

facility, yet when Hindenburg researchers visited the site just “a week later,” they found “zero

signs of progress.”

       9.      The Hindenburg Report further revealed inconsistencies in Tingo’s financial

reporting for the first quarter ended March 31, 2023, where food inventory disappeared without

any comment or explanation from the Company. Additionally, two of the farming cooperatives

that Tingo alleged made up the majority of Tingo Mobile’s 9.3 million users claimed that they had

never even heard of Tingo. Hindenburg also revealed that Tingo’s purported license that generated

$128 million in revenue for leasing handsets, call, and data in Q1 2023, did not exist until June




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2023. The Hindenburg Report also demonstrated that Tingo Mobile’s office in Lagos, Nigeria, had

a tax delinquency sign posted on it by federal tax authorities in Nigeria. In further perpetuating its

scheme, Tingo had photoshopped its logo onto a point-of-sale system diagram taken from a

competitor’s website. Regarding Nwassa, the Hindenburg Report revealed that the Nwassa website

had been out of order and inoperable for months, even as the Company claimed it generated $125.3

million in revenue. Additionally, Hindenburg found no evidence from Nigeria’s import/export

records that supported Tingo’s claim that its brand-new agricultural export business was on track

to deliver by Q3 2023 over $1.34 billion in exports.

       10.     The Hindenburg Report also revealed that Tingo failed to implement effective

controls over its accounting and financial reporting. For example, Tingo had committed basic

accounting errors such as incorrect math and dropping zeroes off essential metrics. The

Hindenburg Report further revealed critical accounting errors, such as Tingo’s cash flow and

balance sheet statements being incorrectly reported. For instance, the cash flow error would add

items that should have been subtracted or subtract items that should have been added. The

Hindenburg Report suggested that these errors were also applicable to Tingo’s audited annual

financial statements.

       11.     On this news, Tingo’s stock price fell from a closing price of $2.55 per share on

June 5, 2023, to a closing price of $1.32 per share on June 6, 2023. This demonstrates a fall of

$1.23 per share, or a 48.2% decrease.

       12.     Throughout the Relevant Period, the Defendants made materially false and/or

misleading statements and failed to disclose material adverse facts about Tingo’s business,

operations, and prospects. In particular, Defendants failed to disclose to shareholders and investors

that: (1) the Company failed to maintain adequate internal controls; (2) Defendant Mmobuosi had




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fabricated part of his biography; (3) the Company reported embellished revenue and other

accounting metrics that misled investors about the success of the Company; (4) the Company had

fabricated claims about its engagement in many of the business activities, such as food processing

and mobile technology, that it claimed would be the drivers of future growth; (5) many of the

purported contracts the Company disclosed to shareholders did not actually exist and/or were

overstated; and (6) in light of the above, the Defendants’ statements representing that the

Company’s business, operations, and prospects were economically successful were materially

misleading and/or lacked a reasonable basis at all relevant times.

       13.     Additionally, in breach of their fiduciary duties, the Individual Defendants caused

the Company to fail to maintain adequate internal controls.

       14.     In light of the Individual Defendants’ misconduct—which has subjected the

Company and various of its former and current officers and directors to two federal securities fraud

class action lawsuits pending in the United States District Court for the District of New Jersey (the

“Securities Class Actions”) and which has further subjected the Company to the need to undertake

internal investigations, the need to implement adequate internal controls, losses from the waste of

corporate assets, and losses due to the unjust enrichment of the Individual Defendants who were

improperly overcompensated by the Company and/or who benefitted from the wrongdoing alleged

herein—the Company will have to expend many millions of dollars.

       15.     The Company has been substantially damaged as a result of the Individual

Defendants’ knowing or highly reckless breaches of fiduciary duty and other misconduct.

16.    In light of the breaches of fiduciary duty engaged in by the Individual Defendants, most of

whom are the Company’s current directors, of the collective engagement in fraud and misconduct

by the Company’s directors, of the substantial likelihood of the directors’ liability in this derivative




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action, of the officers’ and directors’ liability in the Securities Class Actions, and of their not being

disinterested and/or independent directors, a majority of the Company’s Board of Directors (the

“Board”) cannot consider a demand to commence litigation against themselves on behalf of the

Company with the requisite level of disinterestedness and independence.

                                  JURISDICTION AND VENUE

        17.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiff’s claims raise a federal question under Section 14(a) of the Exchange Act and raise a

federal question pertaining to the claims made in the Securities Class Actions based on violations

of the Exchange Act.

        18.     This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367(a).

        19.     This derivative action is not a collusive action to confer jurisdiction on a court of

the United States that it would not otherwise have.

        20.     Additionally, diversity jurisdiction is conferred by 28 U.S.C. § 1332. Plaintiff and

Defendants are citizens of different states, and the amount in controversy exceeds the sum or value

of $75,000, exclusive of interest and costs.

        21.     The Court has personal jurisdiction over each of the Defendants because each

Defendant is either a corporation conducting business and maintaining operations in this District,

or he or she is an individual who is a citizen of New Jersey or who has minimum contacts with

this District to justify the exercise of jurisdiction over them. Venue is proper in this District

pursuant to 28 U.S.C. §§ 1391 and 1401 because a substantial portion of the transactions and

wrongs complained of herein occurred in this District, and the Defendants have received




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substantial compensation in this District by engaging in numerous activities that had an effect in

this District.

        22.      Venue is proper in this District because the alleged misstatements and wrongs

complained of herein entered this District, the Defendants have conducted business in this District,

and Defendants’ actions have had an effect in this District.

                                             PARTIES

        Plaintiff

        23.      Plaintiff is a current shareholder of Tingo. Plaintiff has continuously held Tingo

common stock since the time of the alleged wrongdoing.

        24.      Upon information and belief, Plaintiff is a citizen of Tennessee.

        Nominal Defendant Tingo

        25.      Tingo is a Delaware corporation with principal executive offices at 28 West Grand

Avenue, Suite 3, Montvale, New Jersey 07645. Tingo’s common stock trades on the Nasdaq under

the symbol “TIO.”

        Defendant Mercer

        26.      Defendant Mercer served as a Company director beginning November 2019 and as

the Company’s CEO beginning April 2020 until he resigned from both positions on September 15,

2023. According to the Form 10-K the Company filed with the SEC on March 31, 2023 (the “2022

Form 10-K”), as of March 31, 2023, Defendant Mercer beneficially owned 15,620,939 shares of

Tingo common stock, representing 9.5% of the Company’s outstanding shares. Given that the price

per share of the Company’s common stock at the closing of trade on March 31, 2023 was $1.05,

Defendant Mercer owned approximately $16.4 million worth of Tingo stock as of that date.

        27.      For the fiscal year ended December 31, 2022 (the “2022 Fiscal Year”), Defendant

Mercer received $4,174,837 in total compensation from the Company. This included $800,000 in



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salary, $999,875 in bonus, $2,145,600 in stock based awards, and $229,362 in all other

compensation.

       28.      The 2023 Proxy Statement stated the following about Defendant Mercer:

       Darren Mercer. Darren Mercer has served on our Board since November 2019
       and was appointed as our Interim Chief Executive Officer in April 2020, and
       subsequently, our Chief Executive Officer. Mr. Mercer began his career as an
       investment banker in the 1980s, holding senior roles in institutional equity sales
       and corporate brokering at Henry Cooke Lumsden PLC and Albert E. Sharp
       LLC. In 2007, Mr. Mercer founded BNN and has served as its Chief Executive
       Officer since from its inception to October 2017. In February 2018, Mr. Mercer
       accepted an invitation to serve as an executive director from the newly appointed
       board of directors of BNN. During his tenure, Mr. Mercer restructured BNN by
       disposing of various subsidiaries and seeking strategic business partners.
       Mr. Mercer founded Global Fintech and Global Fintech Holdings Ltd. (“GFH”) in
       October 2018 and November 2019, respectively and has served as director of both
       companies since their inception, and as a Director of Strategic Partnerships and
       Business Development and Executive Director since 2017. Since Mr. Mercer
       joined the TINGO GROUP Board, he helped TINGO GROUP achieve substantial
       fund raising and introduced significant new business opportunities to TINGO
       GROUP. Mr. Mercer holds an MSI (DIP) qualification a BASc in Economics from
       the University of Manchester. We believe that Mr. Mercer is well-qualified to serve
       on the TINGO GROUP Board due to his extensive financial services, operational,
       management and investment experience.

       29.      Upon information and belief, Defendant Mercer is a citizen of the United Kingdom.

       Defendant Chen

       30.      Defendant Chen has served as the Company’s Chief Financial Officer (“CFO”)

since November 2021. According to the 2022 Form 10-K, as of March 31, 2023, Defendant Chen

beneficially owned 300,000 shares of Tingo common stock. Given that the price per share of the

Company’s common stock at the closing of trade on March 31, 2023 was $1.05, Defendant Chen

owned approximately $315,000 worth of Tingo stock as of that date.

       31.      For the 2022 Fiscal Year, Defendant Chen received $269,640 in total compensation

from the Company. This included $216,000 in salary and $53,640 in stock based awards.

       32.      The 2023 Proxy Statement stated the following about Defendant Chen:




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       Hao (Kevin) Chen. Mr. Chen was promoted by the Board to serve as the Chief
       Financial Officer of the Company in November 2021. He has more than 13 years
       of experience providing financial services to a variety of public and private
       companies, including in the role as Chief Financial Officer. He has a demonstrated
       history of working within the technology industry and is skilled in US GAAP
       accounting, SOX internal controls, debt and equity financing and strategic
       management. Mr. Chen previously served as the Chief Financial Officer and board
       member of China Rapid Finance (NYSE:XRF), a holding company operating
       primarily in the emergency rescues services business, which utilizes cloud and
       other cutting-edge technologies to provide emergency rescue services, including an
       app based mobile platform, cloud call centers and large data centers. Prior to that,
       Mr. Chen served as a Senior Financial Reporting Manager to Qunar.com (China’s
       online travel platform NASDAQ:QUNR) from 2013 to 2015 and served as an Audit
       Manager with Ernst & Young from 2008 to 2013. Mr. Chen holds a Master of
       Business Administration from Kellogg School of Management at Northwestern
       University, a Master of Economics from Shanghai University of Finance and
       Economics and a Bachelor of Mathematics from Shandong University. He is a
       Certified Public Accountant in the U.S.

       33.    Upon information and belief, Defendant Chen is a citizen of New York.

       Defendant Mmobuosi

       34.    Defendant Mmobuosi has served as interim co-CEO of the Company since

September 19, 2023. Defendant Mmobuosi is also the CEO of TGH, a wholly owned subsidiary

of the Company, and the founder of Tingo Mobile and Tingo Foods.

       35.    Tingo’s website states the following about Defendant Mmobuosi:

       Dozy Mmobuosi is a technology entrepreneur, philanthropist and ardent
       campaigner for social and technological advancement in Africa. Dozy is the
       Founder of Tingo Foods and Tingo Mobile, which has become one of Africa’s
       leading agri-fintech, fintech and food companies over the past 23 years. Tingo is
       helping to deliver financial inclusion to millions of farmers, SMEs, women-led
       businesses              and            consumers            in            Africa.

       In 2002 Dozy designed Nigeria's first text based money transfer platform. Dozy has
       also acted as an advisor to several large corporations and has extensive business
       experience in Sub-Saharan Africa, China, South East Asia, United Arab Emirates,
       Bulgaria, the United States of America and the United Kingdom.

       Global challenges such as climate change, food security and social upliftment are a
       key focus of Dozy’s philanthropic ventures and in December 2021 he launched the
       Dozy Mmobuosi Foundation. The Foundation’s mission is to promote the progress
       of Africa, and Mmobuosi has pledged to donate 10% of his net worth to the cause.
       Dozy's significant contributions to technology and social betterment in Africa have
       earned him a place on the New African 100 Most Influential Africans of 2022 list.



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       Dozy holds a BSc in Political Science, and an MSc in Economics from Ambrose
       Alli University in Nigeria, along with a number of honorary degrees. In 2022, he
       completed the Advanced Management & Leadership Programme at Saïd Business
       School, University of Oxford.

       36.    Upon information and belief, Defendant Mmobuosi is a citizen of Nigeria.

       Defendant Benton

       37.    Defendant Benton served as a Company director from April 2021 until he resigned

on September 18, 2023. Prior to his resignation, Defendant Benton served as Chairman of the

Audit Committee and as a member of the Compensation Committee and the Nominating and

Corporate Governance Committee. According to the 2022 Form 10-K, as of March 31, 2023,

Defendant Benton beneficially owned 160,000 shares of Tingo common stock. Given that the price

per share of the Company’s common stock at the closing of trade on March 31, 2023 was $1.05,

Defendant Benton owned approximately $168,000 worth of Tingo stock as of that date.

       38.    For the 2022 Fiscal Year, Defendant Benton received $93,981 in total

compensation from the Company. This included $45,000 in fees earned or paid in cash, $27,525

in option awards, and $21,456 in stock awards.

       39.    The 2023 Proxy Statement stated the following about Defendant Benton:

       Robert Benton. Mr. Benton has served on the Board of TINGO GROUP since
       April 2021. He has been the Director and Founder of Anthology Media, Ltd,
       (formerly Bob & Co, Ltd) where he provides integrated strategies designed to
       bridge the gap between creativity and finance for TV and film production
       companies since August 2010. Prior to his employment at Anthology Media, Ltd,
       Mr. Benton was a Managing Director and Head of Media Investments at Canaccord
       Adams Ltd., from September 2008 to June 2010, where he focused on marketing,
       sales, and corporate finance. Mr. Benton was also a Managing Director at Ingenious
       Media, an investment company specializing in the media, infrastructure, real estate
       and education sectors from August 2006 to May 2008. Prior to his employment at
       Canaccord Adams Ltd and Ingenious Media, Mr. Benton was employed as the
       Chief Executive Officer at Bridgewell Securities Ltd, a United Kingdom
       investment banking firm, from January 2002 to June 2006. From 1997 to 2001,
       Mr. Benton served as a Chairman and Chief Executive Officer for Charterhouse
       Securities Limited. Mr. Benton also served as the Global Head of Sales for ABN-




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       ABRO from June 1994 to June 1997. Prior to that, Mr. Benton was a Managing
       Director of HSBC James Capel Ltd, from November 1992 to June 1995.
       Mr. Benton currently serves as the Deputy Chair of Everbright Securities Financial
       Holding Limited, which engages in the provision of financial brokerage services.
       He also sits on the board of directors for International Literacy Properties, a
       company that works with authors, managers of literary estates and individual heirs
       to help realize the value from book-based intellectual property. Mr. Benton has
       served on the board of The Discerning Eye, a United Kingdom based educational
       charity that promotes a wider understanding and appreciation of the visual arts and
       further stimulates debate about the place and purpose of art in our society through
       its annual exhibition. Mr. Benton sits on the Advisory Committee for Nash & Co
       Capital, Ltd, which is an independent corporate finance and advisory company.
       Previously, Mr. Benton served as the Chairman of Clarkson Plc, the FTSE 250
       shipping group, from May 2005 to January 2015. Mr. Benton holds a degree in
       Politics and Economics from Exeter University. We believe Mr. Benton is well
       qualified to serve as a director due to his extensive leadership experience.

       40.    Upon information and belief, Defendant Benton is a citizen of New Jersey.

       Defendant Brown

       41.    Defendant Brown has served as a Company director since December 2022. He has

also served as a director of TMNA, the previous parent company of Tingo Mobile, since September

2021. According to the 2022 Form 10-K, as of March 31, 2023, Defendant Brown beneficially

owned 45,000 shares of Tingo common stock. Given that the price per share of the Company’s

common stock at the closing of trade on March 31, 2023 was $1.05, Defendant Brown owned

approximately $47,250 worth of Tingo stock as of that date.

       42.    The 2023 Proxy Statement stated the following about Defendant Brown:

       John J. Brown. John J. Brown has served on the board of directors of TMNA
       since September 2021. Since 2016, Mr. Brown has also been the Managing Partner
       of Sands Point Consulting, an advisor to entrepreneurs, founders, and senior
       corporate leaders to develop new business strategies for a rapidly changing market.
       From 2009 — 2016, he was the Group Managing Director and a member of the
       WMA Executive Committee for UBS Wealth Management Americas. From 1995-
       2000, Mr. Brown was the Managing Director and Global Head of Convertible
       Securities Trading at UBS, and from 1980-1995 and again from 2000-2009 he was
       a Managing Director for Merrill Lynch & Co., holding senior executive leadership
       positions at Merrill Lynch, most notably COO, Operations, Technology & Corp.
       Services Group. At Merrill Lynch, Mr. Brown managed a $1 billion annual




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        operating budget. He also served as the Head of US Equity Financing & CEO,
        Merrill Lynch Professional Clearing Corp in its Prime Broker Division. We believe
        Mr. Brown is well qualified to sit on our board due to his extensive experience at
        various positions at UBS and Merrill Lynch, as well, as his experience in
        developing new business strategies.

        43.    Upon information and belief, Defendant Brown is a citizen of New York.

        Defendant Denos

        44.    Defendant Denos has served as interim co-CEO of the Company since September

18, 2023 and as a Company director since November 2022. Defendant Denos has also served as

the Executive Vice President, General Counsel, and Corporate Secretary of TMNA, the previous

parent company of Tingo Mobile, since September 2021. According to the 2022 Form 10-K, as of

March 31, 2023, Defendant Denos beneficially owned 45,000 shares of Tingo common stock.

Given that the price per share of the Company’s common stock at the closing of trade on March

31, 2023 was $1.05, Defendant Denos owned approximately $47,250 worth of Tingo stock as of

that date.

        45.    The 2023 Proxy Statement stated the following about Defendant Denos:

        Kenneth Denos. Kenneth Denos has served as TMNA’s Executive Vice
        President, General Counsel, and Corporate Secretary since September 2021. Since
        June 2005, Mr. Denos has been an officer and director of Equus Total Return, Inc.
        (NYSE: EQS), a closed-end fund traded on the New York Stock Exchange, serving
        as its President and CEO from 2007-09. He is also a founder and principal of
        Outsize Capital Ltd., an international corporate finance advisory firm based in
        London, and is the founder and Chairman of Kenneth I. Denos, P.C., a U.S.-
        based corporate and consumer law firm. Previously, Mr. Denos was the CEO of
        MCC Global NV, a Frankfurt stock exchange listed investment advisory firm based
        in London, and also served as a director and executive officer of two London Stock
        Exchange listed firms, Healthcare Enterprise Group plc and Tersus Energy plc.
        Mr. Denos has worked in the private equity and advisory industry for virtually his
        entire career, having served as a principal and/or advisor to private and public
        companies and funds in the Middle East, Europe, Africa, and North America. He
        holds a Bachelor of Science degree in Business Finance and Political Science from
        the University of Utah. He also holds a Master of Business Administration and a
        Juris Doctor from the University of Utah. We believe that Mr. Denos is well-
        qualified to serve on the board due to his extensive international legal and corporate




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       governance background, as well as his financial services and investment
       experience.

       46.    Upon information and belief, Defendant Denos is a citizen of Utah.

        Defendant Scott

       47.    Defendant Scott has served as a Company director since November 2019 and as the

Chairman of the Board since September 19, 2023. He also serves as Chair of the Compensation

Committee, Chair of the Nominating and Corporate Governance Committee, and as a member of

the Audit Committee. According to the 2022 Form 10-K, as of March 31, 2023, Defendant Scott

beneficially owned 530,000 shares of Tingo common stock. Given that the price per share of the

Company’s common stock at the closing of trade on March 31, 2023 was $1.05, Defendant Scott

owned approximately $556,500 worth of Tingo stock as of that date.

       48.    For the 2022 Fiscal Year, Defendant Scott received $217,664 in total compensation

from the Company. This included $55,000 in fees earned or paid in cash, $55,050 in option awards,

$107,280 in stock awards, and $334 in all other compensation.

       49.    The 2023 Proxy Statement stated the following about Defendant Scott:

       John McMillan Scott. John McMillan Scott has served on our Board since
       November 2019. Mr. Scott began his career as a stockbroker in October 1970 with
       Charlton Seal Dimmock & Co. He became a Partner at the same firm in 1982 and
       subsequently a Director of Wise Speke Limited following a merger in 1990. In
       August 1994, he joined Albert E. Sharp LLP as a Director, where he remained until
       June 2007. In 2007, he joined WH Ireland Group Plc, a financial services company
       offering private wealth management, wealth planning and corporate broking
       services, where he oversaw the firm’s private client business in Manchester, U.K.
       until his retirement from his role as an Executive Director from WH Ireland’s Board
       of Directors in 2013. Mr. Scott holds a BSc in Economics from the University of
       London. We believe that Mr. Scott is qualified to serve on our Board because of his
       accounting expertise and his experience serving as an officer and director of public
       and private companies.

       50.    Upon information and belief, Defendant Scott is a citizen of the United Kingdom.

        Defendant Trippier




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       51.    Defendant Trippier has served as a Company director since May 17, 2022.

Defendant Trippier also serves as the Chair of the Audit Committee and as a member of the

Compensation Committee and the Nominating and Corporate Governance Committee. According

to the 2022 Form 10-K, as of March 31, 2023, Defendant Tippier beneficially owned 100,000

shares of Tingo common stock. Given that the price per share of the Company’s common stock at

the closing of trade on March 31, 2023 was $1.05, Defendant Trippier owned approximately

$105,000 worth of Tingo stock as of that date.

       52.    For the 2022 Fiscal Year, Defendant Trippier received $50,206 in total

compensation from the Company. This included $28,750 in fees earned or paid in cash and $21,456

in stock awards.

       53.    The 2023 Proxy Statement stated the following about Defendant Trippier:

       Sir David Trippier, R.D.,J.P.,D.L. Until April 2011 Sir David Trippier was the
       Chairman of Cambridge shire Horizons, the company delivering sustainable
       development in the Cambridge Sub-region, and he was the Chairman of W H
       Ireland Group plc, Stockbrokers until May 2008 when the company was taken over
       by a consortium. He was until recently a Non-Executive Director of ITV Granada
       Television and has been a director or Chairman of several quoted companies. Sir
       David was knighted by the Queen in July 1992 when he was 46 years of age. In
       1994 he was appointed by the Council of the Stock Exchange to sit on the
       committee, which formulated and launched the Alternative Investment Market
       (AIM) in June 1995. Since 1992, he has been Chairman or main Board Director of
       three companies, which have floated on the Stock Exchange and are now in the
       Main List, and one that has floated on the AIM Market. He was born in May 1946,
       educated at Bury Grammar School and later was commissioned as an officer in the
       Royal Marines Reserve in which he has served for 30 years. He passed the
       Commando Course at the Commando Training Centre in Devon in 1969 and the
       following year qualified as a parachutist at RAF Abingdon. He subsequently
       qualified as a Company Commander at the School of Infantry at Warminster and
       later passed the Staff College Course at the Royal Naval College at Greenwich. He
       has served with 40 Commando Royal Marines in Singapore and Malaysia, 41
       Commando in Malta and the 3rd Commando Brigade in Norway. He was awarded
       the Royal Marines Reserve Decoration in 1983. In January 1996, he was appointed
       Honorary Colonel of the Royal Marines Reserve in the Northwest by the
       Commandant General Royal Marines. He retired from that role in January 2010. At
       the age of 22, he was admitted to the Stock Exchange. He was also a director of a




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     financial planning company as well as being a Stockbroker. He was a senior partner
     in Pilling Trippier & Co before it was taken over by Capel-Cure Myers whilst he
     was a Minister. He was elected to the Rochdale Metropolitan Borough Council in
     1969. In 1975, he became the leader of the Council when he was 28 years of age
     and in the same year was appointed a magistrate. In 1979, he was elected as MP for
     Rosendale at the age of 32 and became MP for the new constituency of Rosendale
     and Darwen from 1983 to 1992. In 1982, Sir David was appointed Parliamentary
     Private Secretary to the then Minister for Health (Rt Hon Kenneth Clarke QC, MP).
     From June 1983 to September 1985, Sir David was the Minister for Small Firms
     and Enterprise at the Department of Trade and Industry. From September 1985 to
     June 1987, he was the Minister for Tourism, Small Firms and Enterprise in the
     Department of Employment. In 1987 he became the Minister for Housing, Inner
     Cities and Construction in the Department of the Environment. Later in 1989, he
     was promoted to become the Minister of State for the Environment and
     Countryside. As the “Green” Minister he was instrumental in negotiating the
     international agreements on Climate Change and Global Warming on behalf of the
     United Kingdom. In February 1994, he became a Deputy Lieutenant of Lancashire.
     In April 1997, he became High Sheriff of Lancashire for the year 1997/98. In 1999,
     he published his autobiography entitled “Lend Me Your Ears”. He became the
     President of the Manchester Chamber of Commerce for the year 1999-2000. He
     was the National Chairman of the Tidy Britain Group from 1996 to 1998. He
     became the President of the Royal Lancashire Show for the year 1999. Sir David
     became the Chairman of the North West of England Reserve Forces and Cadets
     Association from 2000 to 2008. He was the National Vice Chairman of the Council
     of Reserve Forces from 1999 to 2008 representing the Royal Marines. He served as
     the County Chairman for the St. John Ambulance in Lancashire from 2003 to 2007.
     He was the County President of the Royal British Legion in Lancashire from 2005
     to 2008.He was the founder of the Rosendale Enterprise Trust and the Rosendale
     Groundwork Trust. He is the President Elect of the Soldiers, Sailors, Airmen and
     Families Association — Forces Help for Greater Manchester. In November 2006,
     Sir David won a National Award for “Outstanding Leadership” sponsored by the
     Daily Telegraph. He was nominated as one of 100 of Britain’s most influential men
     and women in the Public and Private Sectors. He is married and has three sons. His
     wife, Lady Ruth Trippier, is a practicing barrister on the Northern Circuit. We
     believe that Sir David Trippier is qualified to serve on our Board because of his
     experience in launching the AIM and his experience as serving as chairman or a
     director of multiple listed companies.

     54.     Upon information and belief, Defendant Trippier is a citizen of the United

Kingdom.

     Relevant Non-Party

     Jamal Khurshid




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       55.     On September 18, 2023, the Company announced it was appointing Jamal Khurshid

(“Khurshid”) to serve as a director on the Company’s Board. Khurshid replaces Defendant

Benton’s position on the Board following Defendant Benton’s retirement.

       56.     The Company’s website states the following about Khurshid:

       Jamie Khurshid served as an investment banker for over 20 years at Goldman
       Sachs, Credit Suisse and Royal Bank of Scotland before joining Cinnober Financial
       Technology, the world’s leading independent exchange and clearing house
       technology provider, as a senior partner where Mr. Khurshid served from 2013 to
       2018. In 2018, Mr. Khurshid co-founded Digital RFQ, a leading digital payments
       service. From 2020 through 2021, Mr. Khurshid served as the COO of Droit
       Financial Technology, an enterprise technology firm. Since 2021, Mr. Khurshid
       joined Financial Strategies Acquisition Corp in June 2021 as Chief Executive
       Officer, subsequently resigning from the position in January 2022 remaining a
       director of the company. In September 2021 he co-founded, and is a director and
       Chairman of Jacobi Asset Management Holdings Limited in the United Kingdom
       and parent company of Jacobi Asset Management PCC Limited, an ETF issuer in
       Guernsey. In November 2021 he was appointed as Chief Operating Officer and
       Director of Caduceus Foundation, a blockchain technology company in Singapore.
       He is a Board member of 4Phyll Private Limited, a BioPlastics technology company
       in Singapore and Non-Executive Director for OneCycle Group, a chemical
       engineering technology provider in the UK. In 1997, Mr. Khurshid graduated from
       the University of Reading in the United Kingdom with second class honours as a
       Bachelor of Science in Environmental Science. Mr. Khurshid was voted by
       financial news as one of the top 40 under 40 in European trading and technology
       (2014) and ranked in the ‘Exchange invest’ Top 1000 most influential people in
       global financial markets in 2017.

                 FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS

       57.     By reason of their positions as officers, directors, and/or fiduciaries of Tingo and

because of their ability to control the business and corporate affairs of Tingo, the Individual

Defendants owed Tingo and its shareholders fiduciary obligations of trust, loyalty, good faith, and

due care, and were and are required to use their utmost ability to control and manage Tingo in a

fair, just, honest, and equitable manner. The Individual Defendants were and are required to act

in furtherance of the best interests of Tingo and its shareholders so as to benefit all shareholders

equally.




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       58.     Each director and officer of the Company owes to Tingo and its shareholders the

fiduciary duty to exercise good faith and diligence in the administration of the Company and in

the use and preservation of its property and assets and the highest obligations of fair dealing.

       59.     The Individual Defendants, because of their positions of control and authority as

directors and/or officers of Tingo, were able to and did, directly and/or indirectly, exercise control

over the wrongful acts complained of herein.

       60.     To discharge their duties, the officers and directors of Tingo were required to

exercise reasonable and prudent supervision over the management, policies, controls, and

operations of the Company.

       61.     Each Individual Defendant, by virtue of his or her position as a director and/or

officer, owed to the Company and to its shareholders the highest fiduciary duties of loyalty, good

faith, and the exercise of due care and diligence in the management and administration of the

affairs of the Company, as well as in the use and preservation of its property and assets. The

conduct of the Individual Defendants complained of herein involves a knowing and culpable

violation of their obligations as directors and officers of Tingo, the absence of good faith on their

part, or a reckless disregard for their duties to the Company and its shareholders that the Individual

Defendants were aware or should have been aware posed a risk of serious injury to the Company.

The conduct of the Individual Defendants who were also officers and directors of the Company

has been ratified by the remaining Individual Defendants who collectively comprised Tingo’s

Board at all relevant times.

       62.     As senior executive officers and/or directors of a publicly-traded company whose

common stock was registered with the SEC pursuant to the Exchange Act and traded on the

Nasdaq, the Individual Defendants had a duty to prevent and not to effect the dissemination of




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inaccurate and untruthful information with respect to the Company’s financial condition,

performance, growth, operations, financial statements, business, products, management, earnings,

internal controls, and present and future business prospects, including the dissemination of false

information regarding the Company’s business, prospects, and operations, and had a duty to cause

the Company to disclose in its regulatory filings with the SEC all those facts described in this

complaint that it failed to disclose, so that the market price of the Company’s common stock would

be based upon truthful and accurate information. Further, they had a duty to ensure the Company

remained in compliance with all applicable laws.

       63.     To discharge their duties, the officers and directors of Tingo were required to

exercise reasonable and prudent supervision over the management, policies, practices, and internal

controls of the Company. By virtue of such duties, the officers and directors of Tingo were required

to, among other things:

               (a)     ensure that the Company was operated in a diligent, honest, and prudent

manner in accordance with the laws and regulations of Delaware, New Jersey, and the United

States, and pursuant to Tingo’s own Code of Business Conduct and Ethics (the “Code of

Conduct”);

               (b)     conduct the affairs of the Company in an efficient, business-like manner so

as to make it possible to provide the highest quality performance of its business, to avoid wasting

the Company’s assets, and to maximize the value of the Company’s stock;

               (c)     remain informed as to how Tingo conducted its operations, and, upon

receipt of notice or information of imprudent or unsound conditions or practices, to make

reasonable inquiry in connection therewith, and to take steps to correct such conditions or

practices;




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               (d)     establish and maintain systematic and accurate records and reports of the

business and internal affairs of Tingo and procedures for the reporting of the business and internal

affairs to the Board and to periodically investigate, or cause independent investigation to be made

of, said reports and records;

               (e)     maintain and implement an adequate and functioning system of internal

legal, financial, and management controls, such that Tingo’s operations would comply with all

applicable laws and Tingo’s financial statements and regulatory filings filed with the SEC and

disseminated to the public and the Company’s shareholders would be accurate;

               (f)     exercise reasonable control and supervision over the public statements

made by the Company’s officers and employees and any other reports or information that the

Company was required by law to disseminate;

               (g)     refrain from unduly benefiting themselves and other Company insiders at

the expense of the Company; and

               (h)     examine and evaluate any reports of examinations, audits, or other financial

information concerning the financial affairs of the Company and to make full and accurate

disclosure of all material facts concerning, inter alia, each of the subjects and duties set forth

above.

         64.   Each of the Individual Defendants further owed to Tingo and the shareholders the

duty of loyalty requiring that each favor Tingo’s interest and that of its shareholders over their own

while conducting the affairs of the Company and refrain from using their position, influence or

knowledge of the affairs of the Company to gain personal advantage.

         65.   At all times relevant hereto, the Individual Defendants were the agents of each other

and of Tingo and were at all times acting within the course and scope of such agency.




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         66.   Because of their advisory, executive, managerial, directorial, and controlling

positions with Tingo, each of the Individual Defendants had access to adverse, non-public

information about the Company.

         67.   The Individual Defendants, because of their positions of control and authority, were

able to and did, directly or indirectly, exercise control over the wrongful acts complained of herein,

as well as the contents of the various public statements issued by Tingo.

         CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

         68.   In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with

and conspired with one another in furtherance of their wrongdoing. The Individual Defendants

caused the Company to conceal the true facts as alleged herein. The Individual Defendants further

aided and abetted and/or assisted each other in breaching their respective duties.

         69.   The purpose and effect of the conspiracy, common enterprise, and/or common

course of conduct was, among other things, to: (i) facilitate and disguise the Individual Defendants’

violations of law, including breaches of fiduciary duty, unjust enrichment, waste of corporate

assets, gross mismanagement, abuse of control, and violations of the Exchange Act; (ii) conceal

adverse information concerning the Company’s operations, financial condition, legal compliance,

future business prospects and internal controls; and (iii) artificially inflate the Company’s stock

price.

         70.   The Individual Defendants accomplished their conspiracy, common enterprise,

and/or common course of conduct by causing the Company purposefully or recklessly to conceal

material facts, fail to correct such misrepresentations, and violate applicable laws. In furtherance

of this plan, conspiracy, and course of conduct, the Individual Defendants collectively and

individually took the actions set forth herein. Because the actions described herein occurred under



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the authority of the Board, each of the Individual Defendants who is a director of Tingo was a

direct, necessary, and substantial participant in the conspiracy, common enterprise, and/or

common course of conduct complained of herein.

       71.     Each of the Individual Defendants aided and abetted and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commission of the wrongdoing complained of herein, each of the Individual Defendants acted with

actual or constructive knowledge of the primary wrongdoing, either took direct part in, or

substantially assisted in the accomplishment of that wrongdoing, and was or should have been

aware of his or her overall contribution to and furtherance of the wrongdoing.

       72.     At all times relevant hereto, each of the Individual Defendants was the agent of

each of the other Individual Defendants and of Tingo and was at all times acting within the course

and scope of such agency.

                               TINGO’S CODE OF CONDUCT

       73.     Tingo’s Code of Conduct provides Company employees with “general guidelines

for conducting the business of [Tingo] consistent with the highest standards of business ethics.”

The Code of Conduct states that “[e]ach employee and director is expected to read and understand

this Code, uphold these standards in day-to-day activities and comply with all applicable policies

and procedures.”

       74.     In a section titled “COMPANY RECORDS,” the Code of Conduct states the

following:

       Accurate and reliable records are crucial to our business. Our records are the basis
       of our earnings statements, financial reports and other disclosures to the public and
       guide our business decision-making and strategic planning. Company records
       include booking information, payroll, timecards, travel and expense reports, e-
       mails, accounting and financial data, measurement and performance records,
       electronic data files and all other records maintained in the ordinary course of our
       business.



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       All Company records must be complete, accurate and reliable in all material
       respects. Undisclosed or unrecorded funds, payments or receipts are inconsistent
       with our business practices and are prohibited. You are responsible for
       understanding and complying with our record keeping policy.

       75.       In a section titled “ACCURACY OF FINANCIAL REPORTS AND OTHER

PUBLIC COMMUNICATIONS,” the Code of Conduct states the following:

       As a public company, we are subject to various securities laws, regulations and
       reporting obligations. Both federal law and our policies require the disclosure of
       accurate and complete information regarding the Company’s business, financial
       condition and results of operations. Inaccurate, incomplete or untimely reporting
       will not be tolerated and can severely damage the Company and result in legal
       liability.

       The Company’s principal financial officers have a special responsibility to ensure
       that all of our financial disclosures are full, fair, accurate, timely and
       understandable. These employees must understand and strictly comply with
       generally accepted accounting principles and all standards, laws and regulations for
       accounting and financial reporting of transactions, estimates and forecasts.

       76.       In a section titled “COMPLIANCE WITH LAWS AND REGULATIONS,” the

Code of Conduct states the following, in relevant part:

       Each employee has an obligation to comply with all laws, rules and regulations
       applicable to the Company’s operations. These include, without limitation, laws
       covering bribery and kickbacks, copyrights, trademarks and trade secrets,
       information privacy, insider trading, illegal political contributions, antitrust
       prohibitions, foreign corrupt practices, offering or receiving gratuities,
       environmental hazards, employment discrimination or harassment, occupational
       health and safety, false or misleading financial information or misuse of corporate
       assets. You are expected to understand and comply with all laws, rules and
       regulations that apply to your job position.

       77.       In a section titled “Reporting Violations of the Code,” the Code of Conduct states

the following:

       All employees have a duty to report any known or suspected violation of this Code,
       including any violation of the laws, rules, regulations or policies that apply to the
       Company. If you know of or suspect a violation of this Code, immediately report
       the conduct to your supervisor or a member of the Governance Committee, who
       will work with you and your supervisor to investigate your concern. If you do not




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       feel comfortable reporting the conduct to your supervisor or you do not get a
       satisfactory response, you may contact a member of the Governance Committee
       directly. A sufficiently detailed description of the factual basis for the allegations
       should be given in order to allow for an appropriate investigation. All reports of
       known or suspected violations of the law or this Code will be handled sensitively
       and with discretion Your supervisor, the Governance Committee and the Company
       will protect your confidentiality to the extent possible, consistent with applicable
       law and the Company’s need to investigate your concern.

       It is the Company policy that any employee who violates this Code will be subject
       to appropriate discipline, which may include termination of employment. This
       determination will be based upon the facts and circumstances of each particular
       situation. An employee accused of violating this Code will be given an opportunity
       to present his or her version of the events at issue prior to any determination of
       appropriate discipline. Employees who violate the law or this Code may expose
       themselves to substantial civil damages, criminal fines and prison terms. The
       Company may also face substantial fines and penalties and may incur damage to its
       reputation and standing in the community. Your conduct as a representative of the
       Company, if it does not comply with the law or with this Code, can result in serious
       consequences for both you and the Company.

       78.     In a section titled “CONFLICTS OF INTEREST,” the Code of Conduct states the

following, in relevant part:

       A conflict of interest can occur when an employee’s private interest interferes, or
       appears to interfere, with the interests of the Company as a whole. You should avoid
       any private interest that influences your ability to act in the interests of the
       Company or that makes it difficult to perform your work objectively and
       effectively.
                                                  ***
       The Company requires that employees disclose any situations that reasonably
       would be expected to give rise to a conflict of interest. If you suspect that you have
       a conflict of interest, or something that others could reasonably perceive as a
       conflict of interest, you must report it to your supervisor or a member of the
       Governance Committee. Your supervisor or a member of the Governance
       Committee will work with you to determine whether you have a conflict of interest
       and, if so, how best to address it. Although conflicts of interest are not automatically
       prohibited, they are not desirable and may only be waived as described in “Waivers
       of the Code” above.

       79.     In violation of the Code of Conduct, the Individual Defendants (as key officers and

as members of the Company’s Board) conducted little, if any, oversight of the Company’s

engagement in the Individual Defendants’ scheme to issue materially false and misleading




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statements to the public, and to facilitate and disguise the Individual Defendants’ violations of law,

including breaches of fiduciary duty, gross mismanagement, abuse of control, waste of corporate

assets, unjust enrichment, and violations of Section 14(a) of the Exchange Act. Also in violation

of the Code of Conduct, the Individual Defendants failed to comply with laws and regulations,

conduct business in an honest and ethical manner, and properly report violations of the Code of

Conduct.

                               AUDIT COMMITTEE CHARTER

       80.     The Company also maintains an Audit Committee Charter. Under a section titled

“Purpose,” the Audit Committee Charter states the following, in relevant part:

       The Audit Committee (the “Committee”) is appointed by the Board of Directors
       (the “Board”) to provide assistance to the Board in fulfilling its oversight
       responsibility to the stockholders, potential stockholders, the investment
       community, and others relating to the Company’s financial statements and the
       financial reporting process, the systems of internal accounting and financial
       controls, the annual independent audit of the Company’s financial statements, and
       the legal compliance and ethics programs as established by management and the
       Board. The committee shall also monitor the qualifications and independence of
       the independent auditors and the internal auditor, as well as their overall
       performance. In so doing, it is the responsibility of the Committee to maintain free
       and open communication among the Committee, the independent auditors, and
       management of the Company in discharging its oversight role. The Committee is
       empowered to investigate any matter brought to its attention with full access to all
       books, records, facilities, and personnel of the Company and the power to retain
       outside counsel or other experts for this purpose.

       81.     Under a section titled “Committee Authority and Responsibilities,” the Audit

Committee Charter states the following, in relevant part:

       The primary responsibility of the Committee is to oversee the Company’s financial
       reporting process on behalf of the Board and report the results of their activities to
       the Board. Management is responsible for preparing the Company’s financial
       statements, and the independent auditors are responsible for auditing those financial
       statements. The Committee in carrying out its responsibilities believes its policies
       and procedures should remain flexible, in order to best react to changing conditions
       and circumstances.




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       82.     Under a section titled “Review of Financial Statements,” the Audit Committee

Charter states that the Audit Committee is responsible for the following:

       13. Reviewing with management and the independent auditors, the financial
       statements to be included in the Company’s annual and quarterly reports, including
       their judgment about the quality, not just acceptability, of accounting principles,
       the reasonableness of significant judgments, and the clarity of the disclosures in the
       financial statements;

       14. Providing a report in the Company’s proxy statement in accordance with the
       requirements of Item 306 of Regulation S-K, as amended, and Item 7(d)(3) of
       Schedule 14A, as amended;

       15. Discussing the results of the annual audit, quarterly review and any other
       matters required to be communicated to the Committee by the independent auditors
       under generally accepted auditing standards;

       83.     Under a section titled “Controls and Procedures,” the Audit Committee Charter

states that the Audit Committee is tasked with, inter alia:

       20. Establishing procedures to receive and respond, on a confidential basis, to
       concerns (anonymously reported or otherwise) regarding questionable accounting
       for auditing matters, or complaints (from employees and others) regarding the
       Company’s account, internal accounting controls and audit matters;

       21. Reviewing and approving all related-party transactions as defined under Item
       404 of Regulation S-K, after reviewing each such transaction for potential conflicts
       of interests and other improprieties;

       22. Consulting with and retaining legal, accounting and other advisers in connection
       with the performance of its duties and responsibilities;

       23. Funding compensation to any independent auditors engaged for the purpose of
       preparing or issuing an audit report or performing other audit, review or attest
       services for the listed issuer;

       24. Funding ordinary administrative expenses of the Committee that are necessary
       or appropriate in carrying out its duties and compensation to any advisers employed
       by the Committee;

       25. Performing such other duties as may be requested by the Board, or as the
       Committee shall deem appropriate.




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       84.    In violation of the Audit Committee Charter, Defendants Benton, Scott, and

Trippier failed to adequately review and discuss the Company’s quarterly earnings press releases;

failed to adequately exercise their risk management and risk assessment functions; and failed to

ensure adequate Board oversight of the Company’s internal control over financial reporting,

disclosure controls and procedures, and Code of Conduct.

                   THE INDIVIDUAL DEFENDANTS’ MISCONDUCT

       Relevant Background

       85.    Tingo is a Delaware corporation that was founded in 2002 with headquarters in

Montvale, NJ. Prior to December 2022, Tingo was known as MICT, Inc. The Company rebranded

as Tingo Group, Inc. following the acquisition of Tingo Mobile in 2022 and Tingo Food in 2023.

Prior to the acquisition of the agri-fintech companies discussed herein, Tingo had operated an

insurance brokerage business trying to break into markets in China.

       86.    Before rebranding, the Company was struggling to find a market as MICT, Inc.

Indeed, the Company reported net losses of $23,636,000 in 2020. Those net losses ballooned to

over $37 million in 2021. To improve its financial positioning, the Company looked for a merger

partner, which it found with TMNA, and its founder, Defendant Mmobuosi, in late 2022. TMNA

operated in Africa as an agri-fintech company. It included two key subsidiaries: Tingo Mobile and

Tingo Foods. On October 7, 2022, Tingo announced that it had entered into a merger agreement

to acquire 100% of the operating business and assets of TMNA, including Tingo Mobile. The

Company closed the transaction on December 1, 2022. In a press release announcing the merger,

Defendant Mercer emphasized that the “completion of this acquisition markedly strengthens our

balance sheet and makes us immediately significantly profitable. We therefore expect to report

substantial earnings for Q4 2022, followed by material quarter over quarter growth in both

revenues and profitability in 2023 and beyond.” (Emphasis added.)



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       87.     On February 9, 2023, the Company acquired the remaining outstanding shares of

Tingo Foods directly from Defendant Mmobuosi. Pursuant to the transaction, the Company issued

to Defendant Mmobuosi a secured, promissory note of $204 million.

       88.     The Company announced on February 24, 2023 that it would be changing its name

from MICT, Inc. to Tingo Group, Inc. in addition to changing its ticker symbol to “TIO.”

       89.     Since rebranding, the operations of Defendant Mmobuosi’s businesses have taken

the forefront of Tingo’s priority, with most of the Company’s operations occurring in Nigeria. The

newly acquired Tingo Foods purports to be a profitable food processing business which processes

raw ingredients into finished products such as rice and pasta. Tingo Foods’ mission is to “make

Africa’s food production self-sufficient and sustainable, by putting farmers at the heart of our

story.” Following the purchase of Tingo Foods, Tingo announced in early 2023 that it had plans

to construct a $1.6 billion food processing facility in Nigeria. The Company even claimed it had

begun breaking ground and held a ceremony.

       90.     Defendant Mmobuosi was the CEO of Tingo Group Holdings, which is a wholly

owned subsidiary of Tingo. Moreover, Tingo Mobile is a wholly owned subsidiary of Tingo Group

Holdings. Tingo’s public filings described Tingo Mobile as “the leading Agri-Fintech Company

operating in Africa, with a comprehensive portfolio of innovative products, including a ‘device as

a service’ smartphone and pre-loaded platform product.” Tingo also represents that Tingo Mobile

has 9.3 million subscribers. The Nwassa platform is a core product offering of Tingo Mobile.

Nwassa is described as a “digital agricultural ecosystem” that enables farmers to sell their goods

online directly to consumers.

       91.     Another product that Tingo Group Holdings operates is the TingoPay Super App

(“TingoPay”). The Company claims it operates TingoPay in a partnership with Visa. As part of




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the partnership, the Company states that customers can apply for a Tingo Visa card and use it via

TingoPay for online transactions. So far, the service is not in full operation.

       92.     In the days following the February acquisition, Tingo Group Holdings launched

Tingo DMCC, which is a trading platform and export business for global commodities. According

to Tingo, Tingo DMCC will facilitate the export and import of agricultural products between

existing and new customers. According to Tingo DMCC’s website, the company “connects buyers

and farmers around the world and provides them with tools, technology, and intelligence to fairly

trade with each other while saving cost, increasing profit, and providing affordable prices for end

users.” On May 30, 2023, the Company announced that Tingo DMCC’ first export sales were $348

million.

       93.     Unfortunately, the truth was revealed in the Hindenburg Report that Defendant

Mmobuosi’s businesses were empty shells. As the Hindenburg Report explains, the Company had

vastly overstated the operations and revenue of each subsidiary. Instead of owning up to their poor

purchase, however, Defendants have elected to paint the acquisition of Defendant Mmobuosi’s

businesses as a new era of success for the Company. As detailed in the following section, the

Defendants made a series of false and misleading statements during the Relevant Period that

depicted Tingo’s subsidiaries as resounding successes, when in reality the subsidiaries’ operations

and revenues had been fabricated.

       False and Misleading Statements

       December 1, 2022 Press Release

       94.     On December 1, 2022, the Company closed on its acquisition of TMNA, effectively

completing the merger. That day, the Company and TMNA issued a press release wherein

Defendant Mercer stated the following, in relevant part:




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         We firmly believe we have acquired one of the world’s most exciting agri-fintech
         and fintech businesses. As reported in Tingo’s Q3 results, Tingo Mobile is already
         highly profitable and growing strongly. Within the past few weeks, Tingo Mobile
         has delivered a number of major trade deals, which not only are expected to result
         in a more than tripling of current customer numbers, but also marks the
         commencement of its global expansion.

(Emphasis added.)

         95.    The press release also quoted Defendant Mmobuosi as saying that “[t]oday’s

merger is enabling us to accelerate upon our ambitious global expansion strategy, which in turn

is already beginning to dollarize our business, a trend that is expected to continue and grow

throughout 2023 and beyond.” (Emphasis added.)

         96.    The statements made in ¶¶ 94-95 above were materially false and/or misleading

and failed to disclose material adverse facts about the Company’s business, operations, and

prospects. Specifically, the identified statements failed to disclose that: (1) Tingo Mobile’s

profitability projections were based on the false representation that it had millions of subscribers;

(2) the Company was fabricating its trade deals, as the supposed partners in those deals denied that

any agreements existed; (3) the Company failed to maintain internal controls; and (4) due to the

foregoing, Tingo Mobile had failed to deliver on trade deals and was not highly profitable. As a

result of the foregoing, Defendants’ statements about the Company’s business, operations, and

prospects were materially false and misleading and/or lacked a reasonable basis at all relevant

times.

         2022 Proxy Statement

         97.    On December 8, 2022, the Company filed the 2022 Proxy Statement with the SEC.

The 2022 Proxy Statement was solicited by Defendants Mercer, Benton, Scott, and Trippier

pursuant to Section 14(a) of the Exchange Act and contained various false and misleading

statements and omissions. The 2022 Proxy Statement called for shareholders to approve, inter alia,




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the election of Defendants Mercer, Benton, Scott, and Trippier to the Board and a proposal to

increase the number of Company shares eligible to be issued pursuant the Plan by 5,000,000 (the

“Plan Proposal”). The misrepresentations and omissions set forth herein were material to

shareholders in voting on electing Defendants Mercer, Benton, Scott, and Trippier to the Board

and approving the Plan Proposal. Shareholders would not have approved the Plan Proposal or the

election of Defendants Mercer, Benton, Scott, and Trippier to the Board had they been informed

of the true financial state of the Company and the wrongdoing alleged herein.

       98.     The purpose of the Plan Proposal was to “continue to be able to attract, retain and

motivate executive officers and other employees and certain consultants.” The 2022 Proxy

Statement further stated that “we believe that equity compensation aligns the interests of our

management and other employees with the interests of our stockholders.” The 2020 Proxy

Statement also noted that “[w]e believe that option grants have been critical in attracting and

retaining talented employees and officers, aligning their interests with those of stockholders, and

focusing key employees on the long-term growth of our Company.” Regarding the Plan Proposal,

the 2022 Proxy Statement also stated the following, in relevant part:

       Upon stockholder approval, an additional 5,000,000 shares of common stock will
       be reserved for issuance under the 2020 Plan, which will enable us to continue to
       grant equity awards to our officers, employees and consultants at levels determined
       by the Board to be necessary to attract, retain and motivate the individuals who will
       be critical to our Company’s success in achieving its business objectives and
       thereby creating greater value for all our stockholders.

       99.     With respect to risk oversight, the 2022 Proxy Statement stated the following:

       The Board, including the Audit Committee and Compensation Committee,
       periodically reviews and assesses the significant risks to the Company. Our
       management is responsible for the Company’s risk management process and the
       day-to-day supervision and mitigation of risks. These risks include strategic,
       operational, competitive, financial, legal and regulatory risks. Our Board leadership
       structure, together with the frequent interaction between our directors and
       management, assists in this effort. Communication between our Board and




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       management regarding long-term strategic planning and short-term operational
       practices include matters of material risk inherent in our business.

       The Board plays an active role, as a whole and at the committee level in overseeing
       the management of the Company’s risks. Each of our Board committees is focused
       on specific risks within their areas of responsibility, but the Board believes that the
       overall enterprise risk management process is more properly overseen by all of the
       members of the Board. The Audit Committee is responsible for overseeing the
       management of financial and accounting risks. The Compensation Committee is
       responsible for overseeing the management of risks relating to executive
       compensation plans and arrangements. While each committee is responsible for the
       evaluation and management of such risks, the entire Board is regularly informed
       through committee reports. The Board incorporates the insight provided by these
       reports into its overall risk management analysis.

       The Board administers its risk oversight responsibilities through the Chief
       Executive Officer and the Chief Financial Officer, who, together with management
       representatives of the relevant functional areas review and assess the operations of
       the Company as well as operating management’s identification, assessment and
       mitigation of the material risks affecting our operations.

       100.      With respect to the Company’s Code of Conduct, the 2022 Proxy Statement stated

the following:

       We have adopted a Code of Business Conduct and Ethics that applies to our
       directors, executive officers and all of our employees. The Code of Business
       Conduct and Ethics is available on our website at www.mict-inc.com and we will
       provide, at no charge, persons with a written copy upon written request made to us.

       101.      The 2022 Proxy Statement was materially false and misleading because, despite

assertions to the contrary, the Company’s Code of Conduct was not followed, as evidenced by the

Individual Defendants (1) making and/or causing the Company to make the numerous false and

misleading statements and omissions alleged herein; and (2) failing to report violations of the Code

of Conduct. Further, the 2022 Proxy Statement was materially false and misleading because,

despite assertions to the contrary, the Board was not adequately performing its risk oversight

functions.




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       102.    The 2022 Proxy Statement was also false and misleading because it failed to

disclose that: (1) the Company failed to maintain adequate internal controls; (2) Defendant

Mmobuosi had fabricated part of his biography; (3) the Company reported embellished revenue

and other accounting metrics that misled investors about the success of the Company; (4) the

Company had fabricated claims about its engagement in many of the business activities, such as

food processing and mobile technology, that it claimed would be the drivers of future growth; (5)

many of the purported contracts the Company disclosed to shareholders did not actually exist

and/or were overstated; (6) in light of the above, the Defendants’ statements representing that the

Company’s business, operations, and prospects were economically successful were materially

misleading and/or lacked a reasonable basis at all relevant times.

       103.    As a result of Defendants Mercer, Benton, Scott, and Trippier causing the 2022

Proxy Statement to be false and misleading, Company shareholders voted, inter alia, (1) to reelect

Defendants Mercer, Benton, Scott, and Trippier to the Board, thereby allowing them to continue

breaching their fiduciary duties to the Company; and (2) to approve the Plan Proposal, thereby

authorizing 5,000,000 shares of the Company’s common stock to be available for issuance to the

Individual Defendants under the Plan.

       March 31, 2023 Form 10-K

       104.    On March 31, 2023, the Company filed its annual report on Form 10-K with the

SEC for the 2022 Fiscal Year (the “2022 Form 10-K”), which was signed by Defendants Mercer,

Chen, Benton, Denos, Trippier, Scott, and Brown. The 2022 Form 10-K stated the following

regarding the Company’s growth plans for Tingo Foods:

       A key element of the growth plans for Tingo Foods is the development of its own
       food processing facility. To this end, through a joint venture, Tingo Foods has
       committed to build and operate a state-of-the-art $1.6 billion food processing
       facility in the Delta State of Nigeria, which is expected to be completed by the end




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       of the first half of 2024 . . . . In line with its Environmental, Social and Governance
       (“ESG”) commitments, Tingo Foods has entered into a partnership with a third-
       party company in the UK, Evtec Energy Plc, who have committed to fund and
       build a $150 million net zero carbon emission solar plant, to provide a sustainable
       and low-cost energy source to power its multi-billion-dollar food processing
       facility.

(Emphasis added.)

       105.    The statements made in ¶ 104 above were materially false and misleading because:

(1) Tingo foods’ purported joint venture partner had no cash on hand and was dormant as of its

2022 annual report; (2) Tingo had not begun preparing the food processing facility site for

operations, as was revealed by the fact that no preparation had been completed as of May 24, 2023;

and (3) as a result of the foregoing, Tingo was not attempting to build its so-called “state-of-the-

art” food processing facility.

       106.    Regarding Tingo Group’s globalization strategy, the 2022 Form 10-K stated that

“[a]s part of its globalization strategy, TGH and its wholly owned subsidiary, Tingo Mobile

Limited (‘Tingo Mobile’), have recently begun to expand internationally and entered into trade

partnerships that are contracted to increase the number of subscribed farmers from 9.3 million in

2022 to more than 32 million[.]” The 2022 Form 10-K further noted that “[e]ach of TGH’s current

subscribers is a member of one of a small number of cooperatives with whom a subsidiary of TGH

has a contractual relationship, which facilitates the distribution of Tingo-branded smartphones into

the various rural communities of user farmers/agri-workers.” The 2022 Form 10-K also

emphasized that “[a]s of December 31, 2022, Tingo Mobile had approximately 9.3 million

subscribers using its mobile phones and Nwassa payment platform.” (Emphasis.)

       107.    The 2022 Form 10-K also contained a discussion of a purported agreement between

Tingo Mobile and Airtel, a mobile network provider operating out of Nigeria. In relevant part, the




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2022 Form 10-K represented that “[t]hrough a Mobile Virtual Network agreement with Airtel,

Tingo Mobile provides its customers in Nigeria with voice and data services.”

       108.   Regarding TGH’s supply of mobile phones, the 2022 Form 10-K stated the

following:

       In March 2020, Tingo Mobile entered into a mobile phone procurement contract
       with UGC Technologies Company Limited, with located in Shenze Town, China.
       In January 2022, Tingo Mobile entered into an agreement with Bullitt Mobile
       Limited, based in Reading, England, who are a supplier of branded cellular
       telephone products and accessories.
                                            ***
       UGC Technologies Company Limited and Bullitt Mobile Limited are the TGH
       Group’s sole suppliers of mobile phones at present.

(Emphasis added.)

       109.   The statements made in ¶¶ 106-108 above were materially false and/or misleading

because they failed to disclose that: (1) the farming cooperatives—Airtel, UGC Technologies

Company Limited, and Bullitt Mobile Limited—that Tingo Mobile had claimed resulted in 9.3

million subscriptions had only resulted in a few hundred subscriptions, with many of the farming

cooperatives denying having ever heard of or worked with Tingo; and (2) due to the foregoing,

Tingo Mobile did not have 9.3 million subscribers and, as such, did not “expect[] 30 million by

the end of 2023.”

       110.   The 2022 Form 10-K represented that Nwassa was “Africa’s leading digital

agriculture ecosystem.” The 2022 Form 10-K further stated the following about how Nwassa

operates:

       Tingo Mobile’s Nwassa platform is believed to be Africa’s leading digital
       agriculture ecosystem that empowers rural farmers and agri-businesses by using
       proprietary technology that enables users to access markets in which they operate.
       Using Tingo Mobile’s ecosystem, farmers can ship produce from farms
       throughout Nigeria. The ecosystem provides real-time pricing, straight from the
       farms, which eliminates middlemen. The customers of Nwassa users pay for
       produce bought using available pricing on the platform.




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       111.    With respect to Nwassa, the 2022 Form 10-K also noted that “the platform

processes approximately $1 billion USD in gross transaction value (GTV) on a monthly basis.”

       112.    The statements made in ¶¶ 110-111 above were materially false and/or misleading

because they failed to disclose that the Nwassa platform does not function. Indeed, the Hindenburg

Report revealed that Nwassa’s website had been under maintenance for months. Similarly,

Hindenburg looked at archives of the platform which show that the platform was never fully

developed. Instead, it only listed a few products—none of which had any reviews or ratings. Thus,

the revenue numbers are false and misleading because Nwassa being out of operation means that

the platform could not have processed the transactions during the time those statements were made.

       March 31, 2023 Press Release and Earnings Call

       113.    Also on March 31, 2023, the Company issued a press release titled “Fintech and

Agri-Fintech Company, Tingo Group, Inc., Reports Full Year 2022 Financial Results” (“FY22

Press Release”). Regarding the Company’s full year financials for the 2022 Fiscal Year, the FY22

Press Release stated the following, in relevant part:

       MONTVALE, N.J., March 31, 2023 (GLOBE NEWSWIRE) -- Tingo Group, Inc.
       (NASDAQ: TIO) (“Tingo” or the “Company”) today announced its financial
       results for the fiscal year ended December 31, 2022.

       The acquisition of 100% of Tingo Mobile Limited (“Tingo Mobile”), which was
       completed on November 30, 2022, has resulted in the consolidation of its financial
       results into the Company from December 1, 2022. Today’s earnings presentation
       and this press release also includes pro forma financial information for the full year
       ended December 31, 2022, with comparative pro forma financial information for
       the year ended December 31, 2021, so as to provide shareholders with a fuller
       understanding of the performance and growth of the acquisition and its expected
       impact on the Company.

       114.    In a section titled “Financial Results,” the FY22 Press Release stated the following:

       •      Tingo Group cash balances at December 31, 2022, amounted to $500.3
       million, compared to $96.6 million at December 31, 2021.




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       •       Net revenues of Tingo Group for 2022 (including Tingo Mobile for one
       month only from December 1, 2022) were $146.0 million, compared to $55.7
       million in 2021.
       •       Pro Forma Consolidated Revenues for 2022 were $1.152 billion, compared
       to $921.5 million for the prior year, which after stripping out non-recurring mobile
       handset sales in 2021 of $301.0 million, represented an increase of 85.5%.
       •       Tingo Mobile’s Handset Leasing Revenues for 2022 were $476.3 million,
       up 50.3% on 2021 revenues of $316.9 million.
       •       Nwassa Agri Fintech platform revenues for 2022 were $532.2 million, up
       168.0% on 2021 revenues of $198.6 million.
       •       Operating loss of Tingo Group for 2022 (including Tingo Mobile for one
       month only from December 1, 2022) was $11.8 million, after accounting for non-
       recurring transaction expenses of $9.6 million and share based payments of $6.6
       million, which if added back would result in an operating profit of $4.3 million,
       compared to a loss of $37.9 million for 2021.
       •       Pro Forma Consolidated Operating Income for 2022 was $554.6 million,
       compared to a loss of $47.0 million in 2021.
       •       Pro Forma Consolidated EBITDA1 for 2022 was $954.5 million, compared
       to a Pro Forma Consolidated EBITDA1 of $275.6 million for 2021.
       •       Tingo Mobile increased the customer numbers on its Nwassa Agri
       Fintech platform to 11.4 million at December 31, 2022, from 9.3 million at
       September 30, 2022, and handled more than $1 billion of customer transactions
       in the month of December.

(Emphasis added.)

       115.   In a section titled “Operational Milestones,” the FY22 Press Release stated the

following:

       •     Signed major trade partnership with the All-Farmers Association of Nigeria
       (“AFAN”) on October 20, 2022, which launched ahead of schedule on November
       16 2022, and includes commitment to enroll a minimum of 20 million new
       customers with Tingo Mobile.

       •      Launched operations in Ghana on November 10, 2022, and signed a
       landmark trade deal with the Kingdom of Ashanti covering major agricultural and
       cocoa farming region, including a commitment to enroll a minimum of 2 million
       new customers with Tingo Mobile and a target to increase enrollments to more
       than 4 million.

       •       Launched global commodity platform and export business on December
       12, 2022, in partnership with the Dubai Multi Commodities Centre (“DMCC”),
       the world’s no.1 free trade zone, with the aim of generating a substantial increase
       in sales demand for the crops produced by Tingo Mobile’s farmers.




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      •       Launched in Malawi on December 14, 2022, representing a sizeable market
      in its own right, and also constituting a strategically important base from which to
      expand into East Africa, including the neighboring countries of Tanzania, Zambia
      and Mozambique.

      •       Acquired 100% ownership of Tingo Foods Plc on February 9, 2023, a
      recently established food processing business with the capacity to offtake large
      volumes of raw crops from Tingo Mobile’s farmers into finished food and beverage
      products. Since its inception in September 2022, Tingo Foods generated more
      than $400 million of highly profitable revenues during the four months ended
      December 31, 2022.

      •       Tingo Foods, through a joint venture, has recently committed to fit-out
      and operate a $1.6 billion state of the art food processing facility in the Delta
      State of Nigeria, which is believed to be the largest of its kind on the African
      continent, and is expected to multiply the company’s food processing capacity, as
      well as expand its range of food and beverage products.

      •      Launched the TingoPay Super App and a pan-African partnership with
      Visa on February 14, 2023, which once fully rolled out will offer retail customers
      an integrated digital Visa card, together with payments services, an e-wallet, and
      a wide range of value-added services. TingoPay, with Visa, will also offer a full
      range of merchant services to businesses, including to Tingo Mobile’s farmers.

      •       Appointed specialist legal counsel and a team of expert advisors in February
      2023 to investigate market manipulation and unlawful naked short selling of stock,
      and take appropriate action to prosecute any parties that have perpetrated illegal
      activity, and protect the Company from any such action in the future.

      •       A special dividend plan and share buyback program are being considered
      as possible means of increasing shareholder value and to address the significant
      disconnect between the Company’s share price and its real value (in line with
      valuation multiples applied to other comparable Nasdaq listed companies).

(Emphasis added.)

      116.   Included in the FY22 Press Release were the following statements from Defendant

Mercer:

      “I am delighted with the remarkable transformation that we achieved in 2022. At
      the beginning of the year, we were faced with the backdrop of huge disruption in
      our domestic markets of China and Hong Kong, due to widespread Covid lockdown
      measures, and a significant downturn in the global financial services sector, in
      response to which we pivoted the Company both geographically and strategically,
      and acquired a business that is not only growing strongly but is also addressing




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      some of the world’s biggest problems, namely food insecurity, financial exclusion
      and poverty. I feel privileged to be involved with Tingo and have acquired a
      business whose success is aligned with improving global food supply, and also with
      helping Africa and other emerging markets to become food sustainable.

      “Our focus for much of 2022 was on completing and integrating our acquisition.
      After completing extensive due diligence and analysis on Tingo Mobile with a first-
      class team of globally renown advisors, including Ernst & Young, Dentons and
      Houlihan Lokey, before then restructuring the transaction so as to expedite its
      completion, and improve the terms for our shareholders, we were delighted to close
      the transaction to combine the companies before year end. This has considerably
      strengthened our balance sheet at December 31, 2022, resulting in gross assets
      of $1.7 billion, of which more than $0.5 billion is cash on hand. In addition, by
      closing the acquisition in 2022, we were able to engage one of the world’s leading
      accounting and audit firms, Deloitte, to audit the combined December 31, 2022,
      balance sheet and financial statements. It also gave us the opportunity to engage
      Grant Thornton to undertake an audit and Sarbanes-Oxley review of the group’s
      internal controls and procedures.

      “I am also delighted with the progress we made with integrating Tingo Mobile into
      the group during Q4 2022, and in accelerating the expansion of the various
      businesses. As announced previously, since November 2022 we have signed trade
      partnerships that are expected to triple Tingo Mobile’s customers by the end of
      2023, in addition to expanding our operations into three new countries,
      launching two new businesses, namely Tingo DMCC and TingoPay, and
      acquired the highly profitable Tingo Foods business. These significant
      developments, and their impact in terms of closing the end-to-end seed-to-sale
      ecosystem, puts us into a very strong position for 2023 and beyond.

      “The financial results for Tingo Mobile, and the pro forma consolidated financial
      information for the group, speak for themselves. Highlights in the pro forma
      income statement include the 200% growth in gross profit in 2022 to $675
      million, and a move from a Net Income Before Tax loss of $47 million in 2021 to
      a Net Income Before Tax surplus of more than $550 million in 2022.
      Additionally, we have experienced material growth during the first quarter of 2023,
      and we expect such growth to continue and accelerate throughout the remainder of
      the year and beyond.

      “Having successfully integrated Tingo Mobile into the group and completed an
      audit with a world leading accounting firm, we look forward to finally addressing
      the significant disconnect in our share price and attract a valuation that is reflective
      of our consolidated earnings. With more than $500 million of cash on our balance
      sheet, and the launch of the largest food processing plant in Africa set to take
      place next year, we have an increasing number of options available to us to
      overcome the share price disconnect. As we continue to evaluate and consider all
      the options, together with our overall strategy for maximizing shareholder value,




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       we will keep the market apprised and I hope to provide a further update in the
       coming weeks.”

(Emphasis added.)

       117.   Included in the FY22 Press Release were the following statements from Defendant

Mmobuosi:

       “My colleagues and I at Tingo Mobile and Tingo Foods are delighted that we are
       now part of Tingo Group. The completion of the merger on November 30, 2022,
       represented a major milestone in the history of Tingo Mobile, which my father and
       I founded some 22 years ago. We are already seeing the benefits of the synergies
       in the group, and of being part of a Nasdaq listed company, and our shareholders
       will have noted the considerable progress we have made since the fourth quarter of
       2022, with the acceleration of our growth plans and globalization and dollarization
       strategies.

       “We are particularly excited about the completion of the virtuous circle of our agri-
       fintech eco-system, where we can now deliver on, and profit from, every part of the
       journey from seed-to-sale. We are also very excited about our diversification, both
       geographically, including within my home continent of Africa, as well as into
       other parts of the world and into other sectors, for example, through our B2C
       and B2B TingoPay business and partnership with Visa.

       “As we deliver on our success for the Company and its shareholders, it is of the
       highest importance to me and the Board of Tingo Group that we equally deliver on
       our mission and our Environment Social and Governance (“ESG”) goals, as we
       continue to strive to meaningfully improve global food security and financial
       inclusion, and also to deliver social and financial upliftment to our customers and,
       very importantly to me, help make Africa food sustainable.

       “With the major steps we have taken in recent months to capitalize on our merger
       and the Company’s Nasdaq listing, we are confident we can build significantly on
       the revenue and earnings growth we achieved in 2022 and deliver considerable
       value to our shareholders.”

(Emphasis added.)

       118.   In a section titled “2022 Financial Review,” the FY22 Press Release stated the

following:

       •     Net revenues for the year ended December 31, 2022, were $146.0 million,
       compared to $55.7 million in the prior year, an increase of 162%. The increase




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      is mainly attributable to the consolidation of Tingo Mobile from December 1,
      2022.

      •      Gross profit for the full year 2022 was $64.8 million, or 44% of revenues,
      compared to $9.2 million, or 16% of revenues, in the prior year. The increase is
      mainly attributable to the consolidation of Tingo Mobile for the month of
      December, as well as to the growth in the margins of the Company’s insurance
      agency business.

      •       Selling & marketing expenses for the year ended December 31, 2022, were
      $11.1 million as compared to $6.8 million for the year ended December 31, 2021.
      The increase was due to the consolidation of such costs from Tingo Mobile for the
      month of December, and an increase in marketing expenses for the Company’s
      insurance businesses, which is offset in part by a decrease in marketing expenses
      for the stock trading businesses.

      •       General and administrative expenses were $58.2 million in the full year
      2022, compared to $36.5 million in the full year 2021, which is mainly attributed
      to the consolidation of such costs from Tingo Mobile for the month of December.
      General and administrative expenses for the year included $9.6 million of non-
      recurring transaction expenses and share based payments totaling $6.6 million,
      representing a decrease in share-based payments of $4.7 million compared to the
      previous year.

      •      Operating loss for the for the year ended December 31, 2022, was $11.8
      million versus a loss of $37.9 million for the prior year. The decrease in loss from
      operations is mainly attributable to the consolidation of the profitable operations of
      Tingo Mobile for the month of December.

      •      Net loss for the year ended December 31, 2022, was $47.1 million compared
      to $36.4 million for the year ended December 31, 2021, mainly as a result of an
      increase in tax expenses relating to the acquisition and consolidation of Tingo
      Mobile.

      •      As of December 31, 2022, the Company’s cash and cash equivalents on a
      consolidated basis was approximately $500.3 million, compared to $96.6 million
      at December 31, 2021. This reflects an increase of $403.7 million in cash and
      cash equivalents, which is attributable to the consolidation of Tingo Mobile’s
      cash balance into the Company.

(Emphasis added.)

      119.   The statements made in ¶¶ 113-118 above were materially false and/or misleading

and failed to disclose material adverse facts about the Company’s business, operations and




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prospects. Specifically, Defendants failed to disclose to investors: (1) that Defendant Mmobuosi

had lied about his biography and resume; (2) that Tingo photoshopped its logo onto pictures of

airplanes the Company did not own; (3) that Tingo fabricated or inflated the margins on its food

divisions; (4) that Tingo represented stock images as models of its planned Nigerian food

processing facility and exaggerated the progress it had made on constructing the facility; (5) that

Tingo overstated its food inventory; (6) that Tingo overstated its relationship with the farming

cooperatives it claimed made up the majority of its Tingo Mobile subscribers; (7) that Tingo did

not earn $128 million in revenue for its leasing, call and data segments as it had previously claimed;

(8) that Tingo Mobile was delinquent on tax obligations in Nigeria; (9) that Tingo photoshopped

its logo onto a competitors point of sale system website and claimed it as its own; (10) that Nwassa

did not generate $125.3 million in revenue for Tingo; (11) that Tingo’s agricultural export business

was not set to hit $1.34 billion in exports by the third quarter of 2023; (12) that Tingo lacked

adequate financial controls; and (13) that, as a result of the foregoing, Defendants’ positive

statements about the Company’s business, operations, and prospects were materially misleading

and/or lacked a reasonable basis at all relevant times.

       120.    Also on March 31, 2023, the Company hosted an earnings call to discuss its 2022

Fiscal Year financial results with analysts and investors. During the call, Defendant Mmbuosi

represented that “[i]n November and December, we signed trade agreements with two major

partners with the aim of quickly expanding Tingo Mobile’s customer base from 9.3 million to an

expected 30 million by the end of 2023.”

       121.    The statement made in ¶ 120 above was false and misleading because: (1) the

farming cooperatives that Tingo Mobile had claimed resulted in 9.3 million subscriptions had only

resulted in a few hundred subscriptions, with many of the farming cooperatives denying having




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ever heard of or worked with Tingo; and (2) due to the foregoing, Tingo Mobile did not have 9.3

million subscribers and, as such, did not “expect[] 30 million by the end of 2023.”

       May 1, 2023 Form 8-K and Attached Presentation

       122.    On May 1, 2023, Defendant Mercer presented to investors at the Taglich Brothers

Investment Conference. Following the conference, the Company filed a Form 8-K with the slide

deck from the presentation attached. The slide deck stated that “[n]ew state-of-the-art $1.6 billion

food processing facility set to multiply capacity and revenue – scheduled to open mid-2024.”

       123.    The presentation also included a rendering of the proposed facility, pictured below.




       124.    The statements made in ¶ 122 above were materially false and misleading because:

(1) Tingo foods’ purported joint venture partner had no cash on hand and was dormant as of its

2022 annual report; (2) Tingo had not begun preparing the food processing facility site for

operations, as was revealed by the fact that no preparation had been completed as of May 24, 2023;

and (3) as a result of the foregoing, Tingo was not attempting to build its so-called “state-of-the-

art” food processing facility.

       125.    The representation made in ¶ 123 above was also materially false and misleading

because the rendering of the facility which was included in the slide deck and attached to the Form

8-K was actually a stock photo of an oil refinery that was available for purchase online.

       May 1, 2023 Proxy Statement




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       126.      On May 1, 2023, pursuant to Section 14(a) of the Exchange Act, the Company filed

the 2023 Proxy Statement with the SEC, which contained various false and misleading statements

and omissions. The 2023 Proxy Statement was solicited by Defendants Mercer, Benton, Scott,

Brown, and Trippier and called for shareholders, inter alia, (1) to amend the Company’s certificate

of incorporation and increase the number of authorized shares of the Company’s common stock

from 425,000,000 to 750,000,000; and (2) to approve the issuance of shares of Common Stock,

upon conversion of the Company’s Series A Preferred Stock. The misrepresentations and

omissions set forth herein were material to shareholders in voting to approve the charter

amendment and conversion proposal. Shareholders would not have approved the proposals had

they been informed of the true financial state of the Company and the wrongdoing alleged herein.

       127.      With respect to risk oversight, the 2023 Proxy Statement stated the following:

       The company board is responsible for overseeing the Combined Company’s risk
       management process. The Combined Company Board focuses on the Combined
       Company’s general risk management strategy, the most significant risks facing the
       Combined Company, and oversees the implementation of risk mitigation strategies
       by management. The Combined Company’s audit committee will also responsible
       for discussing the Combined Company’s policies with respect to risk assessment
       and risk management. The Combined Company Board believes its administration
       of its risk oversight function has not negatively affected the Combined Company
       Board’s leadership structure.

       128.      With respect to the Company’s Code of Conduct, the 2023 Proxy Statement stated

the following:

       The Combined Company has a code of ethics that applies to all of its executive
       officers, directors and employees, including its principal executive officer,
       principal financial officer, principal accounting officer or controller or persons
       performing similar functions. The code of ethics is available
       on www.tingogroup.com. The Combined Company intends to make any legally
       required disclosures regarding amendments to, or waivers of, provisions of its code
       of ethics on its website rather than by filing a Current Report on Form 8-K. The
       information on any of the Combined Company’s websites is deemed not to be
       incorporated in this proxy statement or to be part of this proxy statement.




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       129.    The 2023 Proxy Statement was materially false and misleading because, despite

assertions to the contrary, the Company’s Code of Conduct was not followed, as evidenced by the

Individual Defendants (1) making and/or causing the Company to make the numerous false and

misleading statements and omissions alleged herein; and (2) failing to report violations of the Code

of Conduct. Further, the 2023 Proxy Statement was materially false and misleading because,

despite assertions to the contrary, the Board was not adequately performing its risk oversight

functions.

       130.    The 2023 Proxy Statement was also materially false and misleading because it

failed to disclose that: (1) the Company failed to maintain adequate internal controls; (2) Defendant

Mmobuosi had fabricated part of his biography; (3) the Company reported embellished revenue

and other accounting metrics that misled investors about the success of the Company; (4) the

Company had fabricated claims about its engagement in many of the business activities, such as

food processing and mobile technology, that it claimed would be the drivers of future growth; (5)

that many of the purported contracts the Company disclosed to shareholders did not actually exist

and/or were overstated; (6) in light of the above, the Defendants’ statements representing that the

Company’s business, operations, and prospects were economically successful were materially

misleading and/or lacked a reasonable basis at all relevant times.

       131.    As a result of Defendants Mercer, Benton, Scott, Brown, and Trippier causing the

2023 Proxy Statement to be false and misleading, Company shareholders voted, inter alia, (1) to

amend the Company’s certificate of incorporation and increase the number of authorized shares of

the Company’s common stock from 425,000,000 to 750,000,000; and (2) to approve the issuance

of shares of Common Stock, upon conversion of the Company’s Series A Preferred Stock.

       May 15, 2023 Form 10-Q




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       132.    On May 15, 2023, the Company filed a Form 10-Q with the SEC for the first fiscal

quarter ended on March 31, 2023 (the “Q1 2023 10-Q), which Defendants Mercer and Chen

signed. The Q1 2023 10-Q stated, “Tingo Foods has also agreed to enter into a partnership with

Evtec Energy Plc to build and operate our own food processing facility, which is expected to be

completed by mid-2024.” (Emphasis added.)

       133.    The statements made in ¶ 132 above were materially false and misleading because:

(1) Tingo Foods’ purported joint venture partner had no cash on hand and was dormant as of its

2022 annual report; (2) neither Tingo nor its purported joint venture partner had begun preparing

the food processing facility site for operations, as was revealed by the fact that no preparation had

been completed as of May 24, 2023; and (3) as a result of the foregoing, Tingo’s food processing

facility was not “expected to be completed by mid-2024.”

       134.    The Q1 2023 10-Q also reported on Tingo Foods’ financial results following its

acquisition by Tingo on February 9, 2023. The Q1 2021 10-Q represented that, from February 9,

2023 to March 31, 2023, Tingo Food reported net revenue of $577,219,000. It also reported that

Tingo foods’ net profits during that same period were $143,445,000.

       135.    The statements made in ¶ 134 above were materially false and misleading because

Tingo Foods had not generated $577.2 million in revenue or $143.5 million in profits between

February 9, 2023, and March 31, 2023. Indeed, during this 50-day period, Tingo did not own its

own food processing facility and instead claimed to have outsourced production to unnamed third

parties who own processing plants in Nigeria. Moreover, the Q1 2023 10-Q did not report that

Tingo Foods had any inventory and, as a result, Tingo’s financial reports contained a variety of

errors begging the question as to whether the Company had any financial controls.




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        136.    The Q1 2023 10-Q also reported that the Company had $780,153,000 in cash and

cash equivalents, further noting that “the majority of the cash is held at its bank in Nigeria, and

there are certain foreign exchange restrictions in place that limit the conversion of such cash into

US Dollars and other currencies.” (Emphasis added.)

        137.    The statements made in ¶ 136 above were materially false and misleading because,

based on Tingo’s financial statements, it would be impossible for the Company to have over $780

million in cash. Indeed, as the Hindenburg Report reveals, if Tingo’s cash claims were true, its

interest income for the first quarter of 2023 would have been approximately $12 million using

Nigeria’s market interest rate of 8% for deposits. And yet, Tingo reported just $1,444,000 in

financial income for the first quarter of 2023, thereby indicating that the Company did not have

over $780 million in cash as of the date the Q1 2023 10-Q was filed.

        May 15, 2023 Form 8-K

        138.    Also on May 15, 2023, the Company filed a Form 8-K with the SEC to announce

its quarterly earnings, which Defendant Mercer signed. Attached to the 8-K was a press release

titled “Tingo Group, Inc. Reports First Quarter 2023 Financial Results.” The press release, stated

in relevant part:

        Tingo Foods, together with its joint venture construction partner on the new state-
        of-the-art $1.6 billion food processing facility, celebrated the breaking of ground
        with a foundation laying ceremony attended by various representatives of local
        government and Nigeria’s Ministry of Agriculture. Since then, significant
        progress has been made on the construction of the facility including the
        installation of infrastructure, drainage, water supply and the foundations of its
        numerous buildings. With construction work progressing as scheduled, the new
        food processing facility, to be operated exclusively by Tingo Foods is on timetable
        and anticipated to open by mid-2024.

(Emphasis added.)

        May 15, 2023 Earnings Conference Call




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       139.    Later on May 15, 2023, Tingo held an earnings conference call with investors to

discuss the first quarter financial results for 2023. During that call, Defendant Mmobuosi stated

that “Tingo Foods is set to multiply capacity and revenue with a new state-of-the-art $1.6 billion

food processing facility in Delta State of Nigeria. Our joint venture partner is already at an

advanced stage of completing work on the building’s foundations and the installation of

infrastructure, drainage, and water supply and facility is on track to open by mid-2024.”

(Emphasis added.)

        140. The statements made in ¶¶ 138-139 above were materially false and misleading

because: (1) Tingo foods’ purported joint venture partner had no cash on hand and was dormant

as of its 2022 annual report; (2) neither Tingo nor its purported joint venture partner had begun

preparing the food processing facility site for operations, as was revealed by the fact that no

preparation had been completed as of May 24, 2023; and (3) as a result of the foregoing, Tingo’s

food processing facility was not “expected to be completed by mid-2024.”

       141.    Defendant Mmobuosi further stated on the call that “Within the first four months

of trading to December 31, 2022, Tingo Foods generated more than $466.2 million of turnover.

The first quarter of 2023 then saw revenues grew to $577.2 million, generating an operating

profit of USD143.5 million.” (Emphasis added.)

       142.    The statements made in ¶ 141 above were false and misleading because Tingo

Foods had not generated $577.2 million in revenue or $143.5 million in profits between February

9, 2023, and March 31, 2023. Indeed, during this 50-day period, Tingo did not own its own food

processing facility and instead claimed to have outsourced production to unnamed third parties

who own processing plants in Nigeria.




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       143.    Also during the call, Defendant Chen reported “Nwassa platform revenues of

$125.3 million” for the first quarter of 2023. This figure was also listed in the slide deck which

accompanied the call.

       144.    The statements made in ¶ 143 above were false and misleading because the Nwassa

platform does not function. Indeed, the Hindenburg Report revealed that Nwassa’s website had

been under maintenance for months. Similarly, Hindenburg looked at archives of the platform

which show that the platform was never fully developed. Instead, it only listed a few products—

none of which had any reviews or ratings. Thus, the revenue numbers are false and misleading

because Nwassa being out of operation means that the platform could not have processed the

transactions during the time those statements were made.

       May 30, 2023 Press Release

       145.    On May 30, 2023, the Company issued a press release which announced that Tingo

DMCC “has completed its first batch of export deals, generating $348 million of sales with a gross

profit approaching $100 million.” The press release further represented that “[t]he sales completed

today are part of an anticipated long-term multi-billion-dollar pipeline of export transactions, more

than $1 billion of which are currently being processed for expected delivery by the third quarter

of 2023.” (Emphasis added.)

       146.    The statements made in ¶ 145 above were false and misleading because Tingo had

either fabricated or inflated the export data it reported. The Hindenburg Report revealed that

Nigerian customs data has no records of either Tingo or Tingo DMCC exports, yet Tingo claims

to have exported over $348 million. Furthermore, Tingo claims to process more than $1 billion in

export transactions, yet Nigeria’s entire total agricultural exports in 2022 were $1.15 billion.




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Finally, Tingo DMCC’s website is dysfunctional, providing no ability to live trade or create a

trading account, and contains numerous dead links and fake testimonials

                                           The Truth Emerges

        147.    On June 6, 2023, Wall Street short seller Hindenburg issued a report titled “Tingo

Group: Fake Farmers, Phones, and Financials —The Nigerian Empire That Isn’t,” alleging that

Tingo had fabricated its business operations and financials. According to the Hindenburg Report,

Tingo made false statements about the success of various subsidiaries, including Tingo Foods,

Tingo Mobile, Nwassa, and Tingo DMCC.

        148.    The Hindenburg Report began by describing the Company and the Hindenburg

Report’s findings, stating:

        •     We are short Tingo Group Inc (NASDAQ: TIO) because we believe the
        company is an exceptionally obvious scam with completely fabricated financials.
        •     Tingo, headquartered in New Jersey, claims to have several business
        segments focused on providing mobile phones, food processing and an online food
        marketplace for farmers primarily located in Nigeria.

        149.    Regarding Defendant Mmobuosi’s fabricated biography, the Hindenburg Report

stated, in relevant part:

        •       Tingo was founded and is spearheaded by “Dozy” Mmobuosi, CEO of the
        key holding company entity. Dozy is regularly described by the media as a
        billionaire and made waves earlier this year when he attempted to acquire the now-
        Premier League soccer team Sheffield United.
        •       We’ve identified major red flags with Dozy’s background. For starters, he
        appears to have fabricated his biographical claim to have developed the first mobile
        payment app in Nigeria. We contacted the app’s actual creator, who called Dozy’s
        claims “a pure lie”.
        •       Dozy claimed to have received a PhD in rural advancement from a
        Malaysian university in 2007. We contacted the school to verify the degree. They
        wrote back saying no one by his name was found in their verification system.
        •       In 2017, Dozy was arrested and faced an 8-count indictment over issuance
        of bad checks, according to the Nigerian Economic and Financial Crimes
        Commission. He later settled the case in arbitration.
        •       In 2019, Dozy claimed to have launched “Tingo Airlines” and posted social
        media messages encouraging customers to “fly with Tingo Airlines today”. Media




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           outlets later uncovered that Tingo had photoshopped its logo onto pictures of
           airplanes. Dozy later admitted to never owning any actual aircraft.

           150.   The Hindenburg Report also pointed out that in April 2023, Christophe Charlie, the

co-chairman of the subsidiary Tingo Inc., filed a public letter with the SEC addressed to Dozy,

stating:

           I have made numerous efforts to implement best corporate governance practices
           and have always been guided by the best interests of Tingo Inc’s shareholders.
           Despite my efforts there remains a lack of communication and teamwork in the
           management of the company, and many critical questions, comments and
           recommendations which I have sent to management and the Board have once
           again remained unanswered and unheeded. As a result, I will not be in a position
           to approve the 10K for 2022 prepared by management and feel it necessary to
           recuse myself by resigning from the Board.

(Emphasis added.)

           151.   Regarding Tingo foods’ financials, the Hindenburg Report revealed overinflated

financials, stating in relevant part:

           •      Tingo’s food division is 7 months old yet claimed to generate $577.2
           million in revenue last quarter alone, representing 68% of total reported revenue.
           If accurate, its claimed 24.8% operating margins would exceed those of every
           major comparable food company.
           •      Yet, Tingo has no food processing facility of its own. Rather, it claims its
           explosive revenue and profitability is derived from acting as a middleman between
           Nigerian farmers and an unnamed third-party food processor.

           152.   Regarding Tingo’s claim it had begun to develop the $1.6 billion state-of-the-art

food processing center, the Hindenburg Report revealed that no progress had even begun, stating:

           •        In February 2023, the company held a groundbreaking ceremony for a
           planned $1.6 billion Nigerian food processing facility of its own, attended by the
           country’s agriculture minister and other political luminaries.
           •        We found that the rendering of the planned facility, featured in Tingo’s
           investor materials and on a billboard at the ceremony, is actually a rendering of an
           oil refinery from a stock photo website.
           •        Following its groundbreaking, Tingo reported in a May 2023 SEC filing
           that it made “significant progress” on the facility, including laying “the
           foundations of its numerous buildings”.




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       •       We visited the site a week later and found zero signs of progress; it was
       empty except for the plaque and billboard commemorating the groundbreaking
       ceremony, surrounded by weeds.
       •       Subsequent to the “groundbreaking”, Tingo announced a $150 million
       agreement with a UK entity called Evtec Energy to build solar panels for its non-
       existent food processing facility. Funding for the deal is slated to be provided
       through Evtec, but UK filings show that Evtec was “Dormant” as of its most recent
       annual report and held zero cash in the bank.
       •       Tingo Group bought Tingo Foods from Dozy in February 2023 for $204
       million, a price “approximately equal to the cost value of the inventory held by
       Tingo Foods”.
       •       The inventory, which was reported in year-end financials, completely
       vanished from Tingo’s Q1 2023 accounts without explanation. In our experience,
       $204 million in inventory doesn’t just disappear at companies with adequate
       internal controls and genuine financial reporting.

       153.   Regarding the Company’s claims that Tingo Mobile was a financial success, the

Hindenburg Report revealed the following:

       •       Tingo claimed in its reverse merger press release that members of 2
       unnamed farming cooperatives supply the majority of its then-9.3 million
       userbase, consisting of local Nigerian farmers. These farmers supposedly form the
       core of the company’s phone customers and provide the agricultural products used
       in Tingo’s food processing and trading businesses.
       •       A local media outlet identified and contacted the cooperatives. Both said
       they had never heard of Tingo and had fewer than 100 farmers in each cooperative.
       •       We were able to make contact with one of the cooperatives. Its owner
       reiterated having no relationship with Tingo and flat out told us “they are
       scammers.”
       •       Tingo claimed its mobile handset leasing, call and data segments generated
       $128 million in revenue last quarter (~15% of total), claiming these services are
       provided through an agreement with Airtel in Nigeria. The type of license they
       claim did not exist until June 2023.
       •       Our checks with the Nigerian Communications Commission showed it has
       no record of Tingo being a mobile licensee at all, despite company claims of
       having 12 million mobile customers.
       •       Despite claiming to have millions of farmers using its phones, Tingo
       Mobile’s corporate presentation and webpage uses stock photos of farmers using
       phones.
       •       We visited Tingo Mobile’s office in Nigeria and found only a handful of
       employees and a sign posted on its door by federal tax authorities stating that the
       company is delinquent on its tax obligations.
       •       Tingo Mobile claimed a Ghana expansion effort would enroll 2-4 million
       members by February 2023. This would represent ~9%-18% market share in the




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       country within months of launch. We found zero records pertaining to Tingo
       Mobile through Ghana’s communication regulator.
       •       We tried to contact Tingo’s Ghana support in late May to buy a phone. The
       email bounced back and no one picked up the phone despite numerous attempts.
       •       We visited Tingo’s Ghana office location in late May 2023. We saw 2 cars
       in the parking lot and no customers. When we tried to enroll in a plan and buy a
       phone we were told the location wasn’t operational yet.

       154.    Regarding the Company’s claims it had a deal with Visa, the Hindenburg Report

revealed the following:

       •      TingoPay (part of Tingo Mobile) claimed in 2021 to have launched a
       partnership with a major local bank.
       •      Two days after Tingo’s blockbuster announcement, the bank put out a
       statement calling Tingo’s claim false and that it had “NOT concluded any
       agreement with Tingo International in respect of any payment system
       whatsoever.”

       155.    Regarding the Company’s claim that Nwassa was successful, the Hindenburg

Report revealed the following:

       •      Tingo now claims its payment group has a point of sale (PoS) system and
       other merchant products. We found that pictures of Tingo’s claimed PoS system
       were taken from a different PoS operator’s website, with a Tingo logo
       photoshopped over them.
       •      Tingo claims its “seed to sale” online marketplace called NWASSA
       generated $125.3 million in revenue last quarter or ~15% of its total revenue, yet
       the website has been “under maintenance” and inoperable for months.
       •      Tingo claims it has launched its NWASSA platform in Ghana. The Ghana
       website also doesn’t work and just says “Updating…” without ever going
       anywhere.

       156.    Regarding the Company’s claim that Tingo DMCC was a thriving export business,

the Hindenburg Report revealed that its financials were fabricated, stating:

       •        In a May 2023 press release, Tingo claimed its brand-new agricultural
       export business, Tingo DMCC, was on track to deliver over U.S. $1.34 billion in
       exports by Q3.
       •        Tingo’s sales projections for that business are higher than the entire nation
       of Nigeria’s annual 2022 agricultural exports, which totaled about U.S. $1.15
       billion, per government data.
       •        Despite Tingo’s bold claims, we found no import/export records from Tingo
       at all through searches of Nigerian customs and trading databases.



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       •       Tingo DMCC’s website has numerous non-functioning links and includes a
       fake testimonial that appears leftover from the website template.

       157.    Regarding the financial controls and quality of the Company’s financial reporting,

the Hindenburg Report revealed that its public disclosures were littered with errors, stating the

following:

       •        Tingo’s financial statements are riddled with errors and typos, including a
       note to itself that it apparently forgot to delete, saying “please update for the tingle
       (sic) transaction including the tingle (sic) foods transaction”.
       •        Its financials include other basic errors like incorrect math and leaving
       zeroes off key metrics.
       •        More troublingly, Tingo’s cash flow and balance sheet statements do not
       reconcile and show major errors indicating a complete lack of financial controls.
       Its cash flow statements regularly subtract items from cash that should be added
       and vice versa.
       •        The errors also seem to apply to Tingo’s audited annual financial
       statements, which were recently given an unqualified audit opinion by Deloitte
       Israel (a strange choice given the company lacks substantive operations in Israel).
       •        We strongly suspect Tingo’s cash balance, which it conveniently claims is
       held in Nigeria, is fake. The company collected only ~12% of the interest income
       one would expect from its claimed cash balances.

       158.    Following the allegations, the Hindenburg Report left a scathing conclusion against

Tingo, stating “Tingo is a worthless and brazen fraud that should serve as a humiliating

embarrassment for all involved. We do not expect the company will be long for this world.”

(Emphasis added.)

       159.    On this news, Tingo’s stock price fell from a closing price of $2.55 per share on

June 5, 2023, to a closing price of $1.32 per share on June 6, 2023.

                      Subsequent Developments Following the Relevant Period

       160.    Following the revelations of the Hindenburg Report, the Company was slow to

publicly respond to the allegations.




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       161.    On June 6, 2023, the Company published a press release “refuting” the allegations

in the Hindenburg Report, in which it stated that the report contained “numerous errors of fact”

and was “misleading and libelous.”

       162.    Two days later, on June 8, 2023, the Company appointed outside counsel from

White & Case LLP to “conduct an independent review reporting to its independent directors

concerning allegations contained in” the Hindenburg Report.

       163.    On August 9, 2023, the Company announced it was rescheduling its Second Quarter

2023 Results Conference Call and its 10-Q filing. The Company delayed filing its second quarter

2023 10-Q two more times until it finally filed the 10-Q on August 31, 2023.

       August 31, 2023 Hindenburg Updated Allegations

       164.    On August 31, 2023, Hindenburg published an update (the “Hindenburg Update”)

on its allegations against Tingo. It noted that Tingo failed to mention any continuing relationship

with White & Case LLP after publicly announcing the relationship on June 8, 2023. Instead,

Tingo’s investigation was now “based on the Company’s outside counsel’s investigation and

further investigative work of its own.” White & Case LLP reportedly ended its relationship with

Tingo back in July, which the Company failed to and continues to fail to disclose to investors.

       165.    Additionally, the Hindenburg Update noted that Tingo failed to name which bank

reviewed the Company’s errant financial statements and holds the Company’s alleged $780

million cash balance.

       166.    Likewise, the Hindenburg Update noted that the Company’s 10-Q for the second

quarter of 2023 revealed the Company’s reported cash had “dropped by a stunning $725 million

over the course of one quarter.”




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         167.   On this news, the Company’s stock price dropped from a closing price of $1.40 per

share on August 30, 2023 to a closing price of $1.29 per share on August 31, 2023. The Company’s

stock price continued to drop over the next week and sank following further allegations from

Hindenburg on September 5, 2023. By September 7, 2023, the Company’s stock price had dropped

to $1.09 per share at the closing of trade. This represented a drop of $0.31 per share or 22% in lost

value.

         September 18, 2023 Board Changes

         168.   On September 18, 2023, Tingo announced a number of changes to its Board and

executive leadership. Notably, the Company announced that Defendant Mercer stepped down as

CEO, and Defendants Mmobuosi and Denos were appointed as Interim co-CEOs. Additionally,

Defendant Benton stepped down as a member of the Board and Chair of the Audit Committee.

Defendant Benton was replaced by relevant non-party Khurshid.

                                     DAMAGES TO TINGO

         169.   As a direct and proximate result of the Individual Defendants’ conduct, Tingo has

lost and will continue to lose and expend many millions of dollars.

         170.   Additionally, these expenditures include, but are not limited to, unjust

compensation, benefits, and other payments provided to the Individual Defendants who breached

their fiduciary duties to the Company.

         171.   As a direct and proximate result of the Individual Defendants’ conduct, Tingo has

also suffered and will continue to suffer a loss of reputation and goodwill, and a “liar’s discount”

that will plague the Company’s stock in the future due to the Company’s and their

misrepresentations and the Individual Defendants’ breaches of fiduciary duties and unjust

enrichment.




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                                 DERIVATIVE ALLEGATIONS

        172.    Plaintiff brings this action derivatively and for the benefit of Tingo to redress

injuries suffered, and to be suffered, as a result of the Individual Defendants’ breaches of their

fiduciary duties as directors and/or officers of Tingo, gross mismanagement, abuse of control,

waste of corporate assets, unjust enrichment, violations of Section 14(a) Exchange Act and the

aiding and abetting thereof.

        173.    Tingo is named solely as a nominal party in this action. This is not a collusive action

to confer jurisdiction on this Court that it would not otherwise have.

        174.    Plaintiff is, and has been at all relevant times, a shareholder of Tingo. Plaintiff will

adequately and fairly represent the interests of Tingo in enforcing and prosecuting its rights, and,

to that end, has retained competent counsel, experienced in derivative litigation, to enforce and

prosecute this action.

                             DEMAND FUTILITY ALLEGATIONS

        175.    Plaintiff incorporates by reference and re-alleges each and every allegation stated

above as if fully set forth herein.

        176.    A pre-suit demand on the Board of Tingo is futile and, therefore, excused. At the

time of filing of this complaint, the Board consists of the following five individuals: Defendants

Brown, Denos, Scott, and Trippier (the “Director Defendants”), along with non-party Khurshid

(together with the Director Defendants, the “Directors”). Plaintiff needs only to allege demand

futility as to three of the five Directors that were on the Board at the time of the filing of this

complaint.

        177.    Demand is excused as to all of the Director Defendants because each one of them

faces, individually and collectively, a substantial likelihood of liability as a result of the scheme




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they engaged in knowingly or recklessly to make and/or cause the Company to make false and

misleading statements and omissions of material fact, which renders the Director Defendants

unable to impartially investigate the charges and decide whether to pursue action against

themselves and the other perpetrators of the scheme.

       178.    In complete abdication of their fiduciary duties, the Director Defendants either

knowingly or recklessly participated in making and/or causing the Company to make the materially

false and misleading statements alleged herein. The fraudulent scheme was intended to make the

Company appear more profitable and attractive to investors. Moreover, the Director Defendants

caused the Company to fail to maintain adequate internal controls. As a result of the foregoing, the

Director Defendants breached their fiduciary duties, face a substantial likelihood of liability, are

not disinterested, and demand upon them is futile, and thus excused.

       179.    Additional reasons that demand on Defendant Brown is futile follow. Defendant

Brown has served as a Company director since December 2022. He has also served as a director

of TMNA, the previous parent company of Tingo Mobile, since September 2021. As a trusted

director of the Company, Defendant Brown conducted little, if any, oversight of the scheme to

cause the Company to make false and misleading statements, consciously disregarded his duties

to monitor such controls over reporting and engagement in the scheme, and consciously

disregarded his duties to protect corporate assets. Furthermore, Defendant Brown signed the 2022

Form 10-K and solicited the 2023 Proxy Statement, both of which contained false and misleading

statements. For these reasons, Defendant Brown breached his fiduciary duties, faces a substantial

likelihood of liability, is not independent or disinterested, and thus demand upon him is futile and,

therefore, excused.




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       180.    Additional reasons that demand on Defendant Denos is futile follow. Defendant

Denos currently serves as interim co-CEO of the Company and has served as a Company director

since November 2022. Additionally, Defendant Denos served as Executive Vice President,

General Counsel, and Corporate Secretary of TMNA, the previous parent company of Tingo

Mobile. Thus, the Company provides Defendant Denos with his principal occupation and, as the

Company admits, he is a non-independent director. Defendant Denos has received and continues

to receive compensation for his role as Company director and interim co-CEO. As a trusted

Company director, he conducted little, if any, oversight of the scheme to cause the Company to

make false and misleading statements, consciously disregarded his duties to monitor such controls

over reporting and engagement in the scheme, and consciously disregarded his duties to protect

corporate assets. Furthermore, Defendant Denos signed the 2022 Form 10-K, which contained

false and misleading statements. For these reasons, Defendant Denos breached his fiduciary duties,

faces a substantial likelihood of liability, is not independent or disinterested, and thus demand upon

him is futile and, therefore, excused.

       181.    Additional reasons that demand on Defendant Scott is futile follow. Defendant

Scott has served as a Company director since November 2019. Defendant Scott also serves as

Chairman of the Board, Chair of the Compensation Committee, Chair of the Nominating and

Corporate Governance Committee, and a member of the Audit Committee. Additionally,

Defendant Scott has received and continues to receive lucrative compensation for his role as a

director as described above. As a trusted Company director and the Chairman of the Board, he

conducted little, if any, oversight of the scheme to cause the Company to make false and

misleading statements, consciously disregarded his duties to monitor such controls over reporting

and engagement in the scheme, and consciously disregarded his duties to protect corporate assets.




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Likewise, the Company lists Defendant Scott as a “financial expert,” yet under his watch and

expertise, the Company published incorrect and errant financial statements and accounting figures.

Furthermore, Defendant Scott signed the 2022 Form 10-K and solicited the 2022 and 2023 Proxy

Statements, all of which contained false and misleading statements. The false and misleading 2022

Proxy Statement also resulted in shareholders voting to reelect Defendant Scott to the Board. For

these reasons, Defendant Scott breached his fiduciary duties, faces a substantial likelihood of

liability, is not independent or disinterested, and thus demand upon him is futile and, therefore,

excused.

       182.    Additional reasons that demand on Defendant Trippier is futile follow. Defendant

Trippier has served as a Company director since May 17, 2022. Defendant Trippier also serves as

the Chair of the Audit Committee and as a member of the Nominating and Corporate Governance

Committee and the Compensation Committee. Additionally, Defendant Trippier has received and

continues to receive lucrative compensation for his role as a director as described above. As a

trusted Company director, he conducted little, if any, oversight of the scheme to cause the

Company to make false and misleading statements, consciously disregarded his duties to monitor

such controls over reporting and engagement in the scheme, and consciously disregarded his duties

to protect corporate assets. Furthermore, Defendant Trippier signed the 2022 Form 10-K and

solicited the 2022 and 2023 Proxy Statements, all of which contained false and misleading

statements. The false and misleading 2022 Proxy Statement also resulted in shareholders voting to

reelect Defendant Trippier to the Board. For these reasons, Defendant Trippier breached his

fiduciary duties, faces a substantial likelihood of liability, is not independent or disinterested, and

thus demand upon him is futile and, therefore, excused.

       183.    Additional reasons that demand on the Board is futile follow.




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       184.    Additional reasons that demand on Defendants Denos and Brown is futile follow.

Defendants Denos and Brown were made Company directors pursuant to the Company’s merger

agreement with TMNA, which Defendant Mmobuosi was the CEO of. TMNA holds 20% of the

shares of Tingo. Pursuant the merger agreement, TMNA was authorized to appoint two directors

to Tingo’s Board, who turned out to be Defendants Denos and Brown. The majority of the

materially false statements and omissions alleged herein were directly link to now interim co-CEO

Defendant Mmobuosi, who appointed them both to the Board. Since Defendants Denos and Brown

serve the Board pursuant to their appointment by Defendant Mmobuosi, they are beholden to him.

Because taking action against the Individual Defendants would potentially harm the financial

interests of Defendant Mmobuosi, whom Defendants Denos and Brown are beholden to, demand

is futile against Defendants Denos and Brown.

       185.    Demand on Defendants Denos, Trippier, Scott, and Brown is also futile because

they will benefit in the future from the Individual Defendants’ solicitation of the 2022 Proxy

Statement which called for shareholder approval of the Plan Proposal. The Plan Proposal called

for a shareholder vote to increase the number of shares to be issued pursuant to the Plan by

5,000,000, thereby allowing the Individual Defendants to continue to be able to receive payments

under the Plan in the future. Shareholders would not have approved the Plan Proposal had they

known the true state of affairs at the Company. As a result, Defendants Denos, Trippier, Scott, and

Brown cannot be presumed to be disinterested in taking action against those who solicited

the materially false and misleading 2022 Proxy Statement (i.e. Defendants Mercer, Benton, Scott,

and Trippier). As such, demand upon Defendants Denos, Trippier, Scott, and Brown is futile and,

therefore, excused.




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       186.    Defendants Scott and Trippier served as members of the Compensation Committee

(the “Compensation Committee Directors”) during the Relevant Period. The Compensation

Committee Directors solicited shareholder approval of the Plan Proposal, which granted them the

right to continue to determine how many shares of Company common stock to administer under

the Plan to non-employee directors, including themselves. They all stood to benefit in the future

from shareholder approval of the Plan Proposal, which allowed for more Company shares to be

issued to officers and directors pursuant to the Plan and which Company shareholders were

deceived into approving while the Individual Defendants made false and misleading statements.

Thus, non-employee directors Brown and Denos are beholden to the Compensation Committee

Directors, and the Compensation Committee Directors are beholden to each other, because they

would not take action against the very directors who hold the authority to award them high

compensation pursuant to the Plan. These conflicts of interest preclude the Compensation

Committee Directors and the rest of the Director Defendants from calling into question the

Director Defendants and other Individual Defendants’ conduct. Thus, demand upon the

Compensation Committee Directors would be futile.

       187.    Moreover, Defendants Scott and Trippier served as members of the Audit

Committee during the Relevant Period. In violation of the Audit and Risk Committee Charter, the

Defendants Scott and Trippier failed to adequately review and discuss the Company’s Forms 10-

K; failed to adequately exercise their risk management and risk assessment functions; and failed

to ensure adequate Board oversight of the Company’s internal control over financial reporting,

disclosure controls and procedures, and Code of Conduct. Thus, Defendants Scott and Trippier

further breached their fiduciary duties, are not disinterested, and demand is excused as to them.




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       188.    In violation of the Code of Conduct, the Director Defendants conducted little, if

any, oversight of the Company’s engagement in the Individual Defendants’ scheme to cause the

Company to issue materially false and misleading statements to the public, and to facilitate and

disguise the Individual Defendants’ violations of law, including breaches of fiduciary duty, unjust

enrichment, abuse of control, gross mismanagement, waste of corporate assets, and violations of

Section 14(a) of the Exchange Act. In violation of the Code of Conduct, the Director Defendants

failed to avoid conflicts of interest or the appearance of conflicts of interest; maintain the accuracy

of Company records; protect and ensure the efficient use of Company assets; comply with all

applicable laws, rules, and regulations; and properly report violations of the Code of Conduct and

applicable laws, rules, and regulations. Thus, the Director Defendants face a substantial likelihood

of liability and demand is futile as to them.

       189.    Tingo has been and will continue to be exposed to significant losses due to the

wrongdoing complained of herein, yet the Director Defendants have not filed any lawsuits against

the Individual Defendants or others who were responsible for that wrongful conduct to attempt to

recover for Tingo any part of the damages Tingo suffered and will continue to suffer thereby. Thus,

any demand upon the Director Defendants would be futile.

       190.    The Individual Defendants’ conduct described herein and summarized above could

not have been the product of legitimate business judgment as it was based on bad faith and

intentional, reckless, or disloyal misconduct. Thus, none of the Director Defendants can claim

exculpation from their violations of duty pursuant to the Company’s charter (to the extent such a

provision exists). As a majority of the Director Defendants face a substantial likelihood of liability,

they are self-interested in the transactions challenged herein and are not capable of exercising




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independent and disinterested judgment about whether to pursue this action on behalf of the

shareholders of the Company. Accordingly, demand is excused as being futile.

       191.    The acts complained of herein constitute violations of fiduciary duties owed by

Tingo’s officers and directors, and these acts are incapable of ratification.

       192.    The Director Defendants may also be protected against personal liability for their

acts of mismanagement and breaches of fiduciary duty alleged herein by directors’ and officers’

liability insurance if they caused the Company to purchase it for their protection with corporate

funds, i.e., monies belonging to the stockholders of Tingo. If there is a directors’ and officers’

liability insurance policy covering the Directors, it may contain provisions that eliminate coverage

for any action brought directly by the Company against the Directors, known as, inter alia, the

“insured-versus-insured exclusion.” As a result, if the Director Defendants were to sue themselves

or certain of the officers of Tingo, there would be no directors’ and officers’ insurance protection.

Accordingly, the Director Defendants cannot be expected to bring such a suit. On the other hand,

if the suit is brought derivatively, as this action is brought, such insurance coverage, if such an

insurance policy exists, will provide a basis for the Company to effectuate a recovery. Thus,

demand on the Director Defendants is futile and, therefore, excused.

       193.    If there is no directors’ and officers’ liability insurance, then the Director

Defendants will not cause Tingo to sue the Individual Defendants named herein, since, if they did,

they would face a large uninsured individual liability. Accordingly, demand is futile in that event,

as well.

       194.    Thus, for all of the reasons set forth above, all of the Directors, and, if not all of

them, at least three of the Directors, cannot consider a demand with disinterestedness and

independence. Consequently, a demand upon the Board is excused as futile.




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                                           FIRST CLAIM

   Against the Individual Defendants for Violations of Section 14(a) of the Exchange Act

       195.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       196.    Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides that “[i]t shall

be unlawful for any person, by use of the mails or by any means or instrumentality of interstate

commerce or of any facility of a national securities exchange or otherwise, in contravention of

such rules and regulations as the [SEC] may prescribe as necessary or appropriate in the public

interest or for the protection of investors, to solicit or to permit the use of his name to solicit any

proxy or consent or authorization in respect of any security (other than an exempted security)

registered pursuant to section 12 of this title [15 U.S.C. § 78l].”

       197.    Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides that no

proxy statement shall contain “any statement which, at the time and in the light of the

circumstances under which it is made, is false or misleading with respect to any material fact, or

which omits to state any material fact necessary in order to make the statements therein not false

or misleading.” 17 C.F.R. § 240.14a-9.

       198.    Under the direction and watch of Defendants Mercer, Benton, Scott, and Trippier,

the 2022 Proxy Statement failed to disclose that the Company’s new subsidiaries were not

achieving the level of success that had been purported. The 2022 Proxy Statement further failed to

disclose, inter alia, that: (1) the Company failed to maintain adequate internal controls; (2)

Defendant Mmobuosi had fabricated part of his biography; (3) the Company reported embellished

revenue and other accounting metrics that misled investors about the success of the Company; (4)

the Company had fabricated claims about its engagement in many of the business activities, such




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as food processing and mobile technology, that it claimed would be the drivers of future growth;

(5) that many of the purported contracts the Company disclosed to shareholders did not actually

exist and/or were overstated; (6) in light of the above, the Defendants’ statements representing that

the Company’s business, operations, and prospects were economically successful were materially

misleading and/or lacked a reasonable basis at all relevant times.

       199.    Defendants Mercer, Benton, Scott, and Trippier knew or recklessly disregarded that

by misrepresenting or failing to disclose the foregoing material facts, the statements contained in

the 2022 Proxy Statement were materially false and misleading. The misrepresentations and

omissions were material to Plaintiff in voting on the matters set forth for shareholder determination

in the 2022 Proxy Statement, including but not limited to, the re-election of directors.

       200.    The false and misleading elements of the 2022 Proxy Statement led Company

shareholders to, inter alia: (1) re-elect Defendants Mercer, Benton, Scott, and Trippier to the

Board, allowing them to continue breaching their fiduciary duties to the Company; and (2) approve

an additional 5,000,000 shares of common stock for issuance under the Plan.

       201.    Under the direction and watch of Defendants Mercer, Benton, Scott, Brown, and

Trippier, the 2023 Proxy Statement failed to disclose that the Company’s new subsidiaries were

not achieving the level of success that had been purported. The 2023 Proxy Statement further failed

to disclose, inter alia, that: (1) the Company failed to maintain adequate internal controls; (2)

Defendant Mmobuosi had fabricated part of his biography; (3) the Company reported embellished

revenue and other accounting metrics that misled investors about the success of the Company; (4)

the Company had fabricated claims about its engagement in many of the business activities, such

as food processing and mobile technology, that it claimed would be the drivers of future growth;

(5) that many of the purported contracts the Company disclosed to shareholders did not actually




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exist and/or were overstated; (6) in light of the above, the Defendants’ statements representing that

the Company’s business, operations, and prospects were economically successful were materially

misleading and/or lacked a reasonable basis at all relevant times.

       202.    Defendants Mercer, Benton, Scott, Brown, and Trippier knew or recklessly

disregarded that by misrepresenting or failing to disclose the foregoing material facts, the

statements contained in the 2023 Proxy Statement were materially false and misleading. The

misrepresentations and omissions were material to Plaintiffs in voting on the matters set forth for

shareholder determination in the 2023 Proxy Statement. The false and misleading elements of the

2023 Proxy Statement led Company shareholders to, inter alia, (1) amend the Company’s

certificate of incorporation and increase the number of authorized shares of the Company’s

common stock from 425,000,000 to 750,000,000 and (2) approve the issuance of shares of

Common Stock, upon conversion of the Company’s Series A Preferred Stock.

       203.    The Company was damaged as a result of Defendants Mercer, Benton, Scott, and

Trippier’s material misrepresentations and omissions in the 2022 Proxy Statement.

       204.    The Company was damaged as a result of Defendants Mercer, Benton, Scott,

Brown, and Trippier’s material misrepresentations and omissions in the 2023 Proxy Statement.

       205.    Plaintiff, on behalf of Tingo, has no adequate remedy at law.

                                           SECOND CLAIM

              Against the Individual Defendants for Breach of Fiduciary Duties

       206.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

       207.    Each Individual Defendant owed to the Company the duty to exercise candor, good

faith, and loyalty in the management and administration of Tingo’s business and affairs.




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        208.    Each of the Individual Defendants violated and breached his or her fiduciary duties

of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.

        209.    The Individual Defendants’ conduct set forth herein was due to their intentional or

reckless breach of the fiduciary duties they owed to the Company, as alleged herein. The Individual

Defendants intentionally or recklessly breached or disregarded their fiduciary duties to protect the

rights and interests of Tingo.

        210.    In breach of their fiduciary duties owed to Tingo, the Individual Defendants

willfully or recklessly caused the Company caused the Company to make false and/or misleading

statements and/or omissions of material fact that failed to disclose, inter alia, that: (1) the Company

failed to maintain adequate internal controls; (2) Defendant Mmobuosi had fabricated part of his

biography; (3) the Company reported embellished revenue and other accounting metrics that

misled investors about the success of the Company; (4) the Company had fabricated claims about

its engagement in many of the business activities, such as food processing and mobile technology,

that it claimed would be the drivers of future growth; (5) that many of the purported contracts the

Company disclosed to shareholders did not actually exist and/or were overstated; (6) in light of

the above, the Defendants’ statements representing that the Company’s business, operations, and

prospects were economically successful were materially misleading and/or lacked a reasonable

basis at all relevant times.

        211.    The Individual Defendants further failed to correct and/or caused the Company to

fail to correct the false and/or misleading statements and/or omissions of material fact, which

renders them personally liable to the Company for breaching their fiduciary duties.

        212.    Also in breach of their fiduciary duties, the Individual Defendants failed to maintain

adequate internal controls.




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       213.    The Individual Defendants had actual or constructive knowledge that they had

caused the Company to improperly engage in the fraudulent scheme set forth herein and to fail to

maintain adequate internal controls. The Individual Defendants had actual knowledge that the

Company was engaging in the fraudulent scheme set forth herein, and that internal controls were

not adequately maintained, or acted with reckless disregard for the truth, in that they caused the

Company to improperly engage in the fraudulent scheme and to fail to maintain adequate internal

controls, even though such facts were available to them. Such improper conduct was committed

knowingly or recklessly and for the purpose and effect of artificially inflating the price of Tingo’s

securities. The Individual Defendants, in good faith, should have taken appropriate action to

correct the scheme alleged herein and to prevent it from continuing to occur.

       214.    These actions were not a good-faith exercise of prudent business judgment to

protect and promote the Company’s corporate interests.

       215.    As a direct and proximate result of the Individual Defendants’ breaches of their

fiduciary obligations, Tingo has sustained and continues to sustain significant damages. As a result

of the misconduct alleged herein, the Individual Defendants are liable to the Company.

       216.    Plaintiff, on behalf of Tingo, has no adequate remedy at law.

                                           THIRD CLAIM

                      Against Individual Defendants for Unjust Enrichment

       217.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

       218.    By their wrongful acts, violations of law, and false and misleading statements and

omissions of material fact that they made and/or caused to be made, the Individual Defendants

were unjustly enriched at the expense of, and to the detriment of, Tingo.




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       219.    The Individual Defendants either benefitted financially from the improper conduct,

or received bonuses, stock options, or similar compensation from Tingo that was tied to the

performance or artificially inflated valuation of Tingo, or received compensation or other

payments that were unjust in light of the Individual Defendants’ bad faith conduct.

       220.    Plaintiff, as a shareholder and a representative of Tingo, seeks restitution from the

Individual Defendants and seeks an order from this Court disgorging all profits, including from

insider transactions, benefits, and other compensation, including any performance-based or

valuation-based compensation, obtained by the Individual Defendants due to their wrongful

conduct and breach of their fiduciary and contractual duties.

       221.    Plaintiff, on behalf of Tingo, has no adequate remedy at law.

                                           FOURTH CLAIM

                     Against Individual Defendants for Abuse of Control

       222.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

       223.    The Individual Defendants’ misconduct alleged herein constituted an abuse of their

ability to control and influence Tingo, for which they are legally responsible.

       224.    As a direct and proximate result of the Individual Defendants’ abuse of control,

Tingo has sustained significant damages. As a direct and proximate result of the Individual

Defendants’ breaches of their fiduciary obligations of candor, good faith, and loyalty, Tingo has

sustained and continues to sustain significant damages. As a result of the misconduct alleged

herein, the Individual Defendants are liable to the Company.

       225.    Plaintiff, on behalf of Tingo, has no adequate remedy at law.




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                                           FIFTH CLAIM

                  Against Individual Defendants for Gross Mismanagement

       226.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

       227.    By their actions alleged herein, the Individual Defendants, either directly or through

aiding and abetting, abandoned and abdicated their responsibilities and fiduciary duties with regard

to prudently managing the assets and business of Tingo in a manner consistent with the operations

of a publicly held corporation.

       228.    As a direct and proximate result of the Individual Defendants’ gross

mismanagement and breaches of duty alleged herein, Tingo has sustained and will continue to

sustain significant damages.

       229.    As a result of the misconduct and breaches of duty alleged herein, the Individual

Defendants are liable to the Company.

       230.    Plaintiff, on behalf of Tingo, has no adequate remedy at law.

                                           SIXTH CLAIM

                Against Individual Defendants for Waste of Corporate Assets

       231.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

       232.    The Individual Defendants caused the Company to pay the Individual Defendants

excessive salaries and fees, to the detriment of the shareholders and the Company.

       233.    As a result of the foregoing, and by failing to properly consider the interests of the

Company and its public shareholders, the Individual Defendants have caused Tingo to waste

valuable corporate assets, to incur many millions of dollars of legal liability and/or costs to defend




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unlawful actions, to engage in internal investigations, and to lose financing from investors and

business from future customers who no longer trust the Company and its products.

       234.     As a result of the waste of corporate assets, the Individual Defendants are each

liable to the Company.

       235.     Plaintiff, on behalf of Tingo, has no adequate remedy at law.

                                     PRAYER FOR RELIEF

       FOR THESE REASONS, Plaintiff demands judgment in the Company’s favor against all

Individual Defendants as follows:

                (a)     Declaring that Plaintiff may maintain this action on behalf of Tingo, and

that Plaintiff is an adequate representative of the Company;

                (b)     Declaring that the Individual Defendants have breached and/or aided and

abetted the breach of their fiduciary duties to Tingo;

                (c)     Determining and awarding to Tingo the damages sustained by it as a result

of the violations set forth above from each of the Individual Defendants, jointly and severally,

together with pre-judgment and post-judgment interest thereon;

                (d)     Directing Tingo and the Individual Defendants to take all necessary actions

to reform and improve Tingo’s corporate governance and internal procedures to comply with

applicable laws and to protect Tingo and its shareholders from a repeat of the damaging events

described herein, including, but not limited to, putting forward for shareholder vote the following

resolutions for amendments to the Company’s Bylaws or Certificate of Incorporation and the

following actions as may be necessary to ensure proper corporate governance policies:

                      1. a proposal to strengthen the Board’s supervision of operations and develop

              and implement procedures for greater shareholder input into the policies and

              guidelines of the Board;



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                      2. a provision to permit the shareholders of Tingo to nominate at least three

            candidates for election to the board; and

                      3. a proposal to ensure the establishment of effective oversight of compliance

            with applicable laws, rules, and regulations.

                (e)     Awarding Tingo restitution from the Individual Defendants, and each of

them;

               (f)      Awarding Plaintiff the costs and disbursements of this action, including

reasonable attorneys’ and experts’ fees, costs, and expenses; and

               (g)      Granting such other and further relief as the Court may deem just and

proper.

                                         JURY DEMAND

Plaintiff hereby demands a trial by jury.

Dated: September 28, 2023

                                               THE BROWN LAW FIRM, P.C.

                                               /s/ Elizabeth J. Donohoe
                                               Elizabeth J. Donohoe
                                               Timothy Brown
                                               767 Third Avenue, Suite 2501
                                               New York, NY 10017
                                               Telephone: (516) 922-5427
                                               Facsimile: (516) 344-6204
                                               Email: edonohoe@thebrownlawfirm.net
                                                       tbrown@thebrownlawfirm.net
                                                       shashmi@thebrownlawfirm.net

                                               BRONSTEIN, GEWIRTZ & GROSSMAN, LLC
                                               Peretz Bronstein
                                               Eitan Kimelman
                                               60 East 42nd Street, Suite 4600
                                               New York, NY 10165
                                               Telephone: (212) 697-6484
                                               Facsimile: (212) 697-7296
                                               Email: peretz@bgandg.com



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                                          eitank@bgandg.com



                                   Counsel for Plaintiff




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                                                         VERIFICATION

                    I, Al Rago, am a plaintiff in the within action. I have reviewed the allegations made in
            this Shareholder Derivative Complaint, know the contents thereof, and authorize its filing. To
            those allegations of which I have personal knowledge, I believe those allegations to be true. As
            to those allegations of which I do not have personal knowledge, I rely upon my counsel and their
            investigation and believe them to be true.

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                   I declare under penalty of perjury that the foregoing is true and correct. Executed this
            __ day of September, 2023.



                                              ______________________
                                              Al Rago
